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                         ATTACHMENT 9

           FTI DTDF January 2007 Monthly Statement
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February 26, 2007



USA Commercial Mortgage Company
4484 South Pecos Road
Las Vegas, NV 89121

Attention:        LeAnn Weese, Controller

RE:      FTI Consulting, Inc. (“FTI”), January 2007 Monthly Statement
         USA Commercial Mortgage Company, et al; Jointly Administered under Case No. BK-S-06-10725 LBR

Enclosed please find FTI Consulting, Inc.’s monthly statement for professionals fees for services rendered and
reimbursement of expenses incurred as Financial Advisors for the Official Committee of Equity Security Holders of
USA Capital Diversified Trust Deed Fund, LLC for the period January 1, 2007 through January 31, 2007.

Copies of this monthly statement have been mailed to all parties listed on the attached distribution list.

If you should have any questions regarding our monthly statement, please do not hesitate to call Chas Harvick at
602.744.7186 or me at 602.744.7144.

Sincerely,




Michael A. Tucker
Senior Managing Director

Enclosures
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DISTRIBUTION:

Debtor
         LeAnn Weese, USA Commercial Mortgage Company
         Susan M. Smith, Mesirow Financial, Inc.

Debtor’s Counsel
        Annette W. Jarvis, Esq., Ray Quinney & Nebeker P.C.
        Lenard E. Schwartzer, Esq., Schwartzer & McPherson Law Firm

Counsel for Official Committee of Unsecured Creditors of USA Commercial Mortgage Company
        Susan M. Freeman, Esq., Lewis and Roca, LLP
        Rob Charles, Esq., Lewis and Roca, LLP

Counsel for Official Committee of Holders of Executory Contract Rights of USA Commercial Mortgage Company
        Gerald M. Gordon, Esq., Gordon & Silver, LTD.
        Gregory E. Garman, Esq., Gordon & Silver, LTD.

Counsel for Official Committee of Equity Security Holders of USA Capital Diversified Trust Deed Fund, LLC
        Marc A. Levinson, Esq., Orrick, Herrington & Sutcliffe LLP
        Anne M. Loraditch, Esq., Beckley Singleton CHTD.

Counsel for Official Committee of Equity Security Holders of USA Capital First Trust Deed Fund, LLC
        Frank A. Merola, Esq., Stutman Treister & Glatt, P.C.
        Eve H. Karasik, Esq., Stutman Treister & Glatt, P.C.

Office of the U.S. Trustee – District of Nevada
         August B. Landis, Assistant United States
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                                                                                FTI Consulting, Inc.
                                                                               Two North Central Avenue
                                                                               Suite 1200
                                                                               Phoenix, Arizona 85004

                                                                               602.744.7100 Telephone
                                                                               602.744.7110 Facsimile




RE:     USA Commercial Mortgage Company
        USA Capital Diversified Trust Deed Fund, LLC
        USA Capital First Trust Deed Fund, LLC
        USA Capital Realty Advisors, LLC
        USA Securities, LLC

        Jointly Administered under Case No. BK-S-06-10725-LBR

Date:   February 26, 2007


        Debtor Entity – USA Capital Diversified Trust Deed Fund, LLC

For professional services rendered from January 1, 2007 through January 31, 2007.

Total Current Fees                                                                     $   187,239.50
Total Current Expenses                                                                       4,104.75

Total Current Fees and Expenses                                                        $   191,344.25

Eighty Percent of Total Current Fees                                                    $ 149,791.60
One Hundred Percent of Total Current Expenses                                               4,104.75

Total Amount Due this Statement                                                        $   153,896.35


SEE DETAIL ATTACHED.



                   PLEASE REMIT PAYMENT TO:
                     Bank of America                      FTI Consulting, Inc.
                     ABA #026009593                       P.O. Box 631916
                     In favour of:                        Baltimore, MD 21263-1916
                     FTI Consulting, Inc.                 FED ID#XX-XXXXXXX
                     Account #003939577164


NOTE: There may be expenses that were incurred during this billing cycle that are not reflected in this
monthly statement but will appear in subsequent monthly statements because of the unavoidable delay in
posting some disbursements.
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                          USA Capital Diversified Trust Deed Fund
                                     Summary Exhibit A
                               Total Hours, Fees and Expenses
                         For the Period of 1/1/2007 through 1/31/2007
Consultant       Level                  Hours           Rate       Fees     Expenses       Total

Tucker, M.      Sr. Managing Dir.       129.0     $525         67,725.00      814.33   68,539.33

Belt, D.        Managing Director         92.2    $475         43,795.00    1,128.55   44,923.55

Harvick, C.     Director                163.2     $425         69,360.00    1,867.32   71,227.32

Peterson, L.    Senior Consultant          9.5    $325          3,087.50        0.00    3,087.50

Schwartz, J.    Senior Consultant          5.6    $325          1,820.00      294.55    2,114.55

Smith, S.       Paraprofessional          11.6     $95          1,102.00        0.00    1,102.00

Evans, J.       Assistant                  7.0     $50           350.00         0.00      350.00

Grand Total                              418.1             $187,239.50     $4,104.75 $191,344.25




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                            USA Capital Diversified Trust Deed Fund
                                      Summary Exhibit B
                      Time Charges Incurred by Professional by Activity Code
                          For the Period of 1/1/2007 through 1/31/2007
Consultant                                                                Hours                Fees
Asset Analysis and Recovery
     Belt, D.                                                               28.3           13,442.50
     Evans, J.                                                               7.0             350.00
     Harvick, C.                                                            44.6           18,955.00
     Peterson, L.                                                            6.0            1,950.00
     Smith, S.                                                               0.5              47.50
     Tucker, M.                                                             37.5           19,687.50

     Total for Asset Analysis and Recovery:                                123.9           54,432.50


Asset Sale
     Harvick, C.                                                             1.9             807.50
     Tucker, M.                                                              2.4            1,260.00

     Total for Asset Sale:                                                   4.3            2,067.50


Case Administration
     Belt, D.                                                                0.4             190.00
     Harvick, C.                                                             1.4             595.00
     Tucker, M.                                                              0.2             105.00

     Total for Case Administration:                                          2.0             890.00


Claims Administration and Objections
     Harvick, C.                                                             1.7             722.50
     Tucker, M.                                                              1.2             630.00

     Total for Claims Administration and Objections:                         2.9            1,352.50


Collection Account Distributions and Related Disputes
     Belt, D.                                                                3.5            1,662.50
     Harvick, C.                                                             1.9             807.50
     Tucker, M.                                                              4.4            2,310.00

     Total for Collection Account Distributions and Related Disputes:        9.8            4,780.00


Court Hearings
     Harvick, C.                                                             9.5            4,037.50
     Smith, S.                                                               0.5              47.50
     Tucker, M.                                                              2.7            1,417.50

     Total for Court Hearings:                                              12.7            5,502.50


Employment/Fee Applications
     Harvick, C.                                                             2.5            1,062.50
     Smith, S.                                                               9.3             883.50

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Consultant                                                             Hours                Fees
     Tucker, M.                                                           1.2              630.00

     Total for Employment/Fee Applications:                              13.0            2,576.00


Financing
     Belt, D.                                                             0.2               95.00
     Harvick, C.                                                          1.4              595.00
     Peterson, L.                                                         1.4              455.00
     Tucker, M.                                                           0.4              210.00

     Total for Financing:                                                 3.4            1,355.00


IP/10-90/Ashby Recovery
     Belt, D.                                                            11.9            5,652.50
     Harvick, C.                                                         24.5           10,412.50
     Peterson, L.                                                         2.1              682.50
     Smith, S.                                                            0.8               76.00
     Tucker, M.                                                          21.2           11,130.00

     Total for IP/10-90/Ashby Recovery:                                  60.5           27,953.50


Meetings & Communications with Diversified Committee
     Belt, D.                                                             1.0              475.00
     Harvick, C.                                                          4.1            1,742.50
     Tucker, M.                                                           6.0            3,150.00

     Total for Meetings & Communications with Diversified Committee:     11.1            5,367.50


Plan and Other Restructure Related Work
     Belt, D.                                                            46.9           22,277.50
     Harvick, C.                                                         69.7           29,622.50
     Schwartz, J.                                                         5.6            1,820.00
     Smith, S.                                                            0.5               47.50
     Tucker, M.                                                          51.8           27,195.00

     Total for Plan and Other Restructure Related Work:                 174.5           80,962.50


Grand Total                                                             418.1        $187,239.50




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                               USA Capital Diversified Trust Deed Fund
                                         Summary Exhibit C
                           Detailed Time Charges Incurred by Activity Code
                          For the Period of 1/1/2007 through 1/31/2007
Date       Consultant         Description                                              Hours       Fees

Asset Analysis and Recovery
1/2/2007   Harvick, C.        Review Summary of Amesbury Hatters Point                   0.3      127.50
                              document prepared by L. Peterson.

1/2/2007   Harvick, C.        Review Beadle McBride Stipulation and related e-           0.3      127.50
                              mails.

1/2/2007   Tucker, M.         Review various e-mails on retention of Beadle              0.2      105.00
                              McBride.

1/2/2007   Tucker, M.         Plan meeting with J. Lisowski regarding Tree Moss          0.2      105.00
                              and Investors VI.

1/2/2007   Tucker, M.         Plan searches on Debtor system to perform 2004             0.3      157.50
                              examinations for Colt; determine status of potential
                              requests.

1/3/2007   Harvick, C.        Review Investors VI and Tree Moss documents and            0.4      170.00
                              prepare summary of both entities.

1/3/2007   Harvick, C.        Participate in conference call with J. Lisowski, J.        1.5      637.50
                              Hermann, B. Olson and M. Tucker regarding status of
                              Tree Moss and Investors VI findings and issues
                              regarding sale.

1/3/2007   Harvick, C.        Prepare for and participate in discussion with M.          1.5      637.50
                              Levinson (part), A. Loraditch and J. Hermann (part)
                              regarding the meeting with J. Lisowski and the
                              Hearing.

1/3/2007   Peterson, L.       E-mail C. Harvick ranges calculated for the amounts        0.3       97.50
                              due for Epic and Sheraton loans.

1/3/2007   Tucker, M.         Review Tree Moss answer to involuntary petition.           0.2      105.00

1/3/2007   Tucker, M.         Prepare for and participate in conference call with J.     1.8      945.00
                              Lisowski, J. Hermann, B. Olson and C. Harvick
                              regarding status of Tree Moss and Investors VI
                              findings and issues regarding sale; plan follow up
                              needed and discuss with J. Hermann.

1/3/2007   Tucker, M.         Review sale agreement and escrow instructions for          0.5      262.50
                              sale of Hotel Zoso and send to J. Lisowski.

1/4/2007   Harvick, C.        Discuss Investors VI with T. Burr to clarify USA           0.1       42.50
                              Commercial Mortgage doesn't have an interest in the
                              entity.

1/4/2007   Smith, S.          Organize Tree Moss involuntary filing documents.           0.5       47.50

1/4/2007   Tucker, M.         Review issues with Colt collection including e-mails.      0.5      262.50

1/5/2007   Belt, D.           Review Colt loan documents and transition issues           1.5      712.50
                              associated with 1/31/07 plan effective date and
                              discuss same with C. Harvick.



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Date       Consultant     Description                                              Hours        Fees

Asset Analysis and Recovery
1/5/2007   Harvick, C.    Review Palisades Financing Letter for Colt Gateway         0.3      127.50
                          and e-mail regarding same.

1/5/2007   Harvick, C.    Review application for J. Lisowski to employ Santoro,      0.2       85.00
                          Driggs, Walch, Kearney, Johnson and Thompson as
                          special bankruptcy counsel.

1/5/2007   Harvick, C.    Discuss case and Colt issues with D. Belt.                 0.3      127.50

1/5/2007   Harvick, C.    Prepare for and participate in discussion with J. Reed     0.3      127.50
                          regarding BySynergy and Ten Ninety LTD.

1/5/2007   Harvick, C.    Review Colt/HFA Application and Order for 2004             0.6      255.00
                          examination.

1/5/2007   Harvick, C.    Participate in call with M. Tucker and M. Levinson         0.4      170.00
                          (part) to discuss BySynergy, Ten Ninety and Colt
                          collection status as well as availability over the
                          weekend to discuss transition items.

1/5/2007   Tucker, M.     Review email from C. Harvick on Colt collection            0.1       52.50
                          issues.

1/5/2007   Tucker, M.     Participate in call with C. Harvick and M. Levinson        0.4      210.00
                          (part) to discuss BySynergy, 10-90 and Colt collection
                          status as well as availability over the weekend to
                          discuss transition items.

1/6/2007   Harvick, C.    Participate in call with M. Tucker, M. Levinson and J.     0.7      297.50
                          Hermann to discus loan collection issues HFA/Colt,
                          Tree Moss, Investors VI, and BySynergy.

1/6/2007   Tucker, M.     Discuss loan collection issues (BySynergy, HFA Colt,       0.7      367.50
                          Tree Moss, Sheraton and others) with M. Levinson, J.
                          Hermann and C. Harvick.

1/6/2007   Tucker, M.     Review email from C. Harvick on BySynergy collection.      0.1       52.50

1/6/2007   Tucker, M.     Review emails on Beadle McBride employment and             0.5      262.50
                          audit report from 2002 and draft 2003 analysis.

1/8/2007   Belt, D.       Review Colt loan documents, operating agreements,          6.2     2,945.00
                          accounting records prepared by Mesirow, audits, etc.

1/8/2007   Harvick, C.    Review notes from meeting with Debtor on January 4,        0.3      127.50
                          2007 and send document request for Colt collateral
                          analysis and J. Milanowski and T. Hantges loan
                          analysis.

1/8/2007   Harvick, C.    Meet with J. Reed to discuss BySynergy collection          0.4      170.00
                          efforts.

1/8/2007   Tucker, M.     Conference with M. Levinson and J. Hermann                 0.2      105.00
                          regarding 2004 targets.

1/9/2007   Belt, D.       Review Rule 2004 exam pleadings.                           0.7      332.50

1/9/2007   Belt, D.       Discuss Colt collection status with C. Harvick.            0.2       95.00

1/9/2007   Harvick, C.    Discuss immediate tasks needed and follow up T.            0.3      127.50
                          Allison items with M. Tucker.

1/9/2007   Harvick, C.    Discuss Colt collection status with D. Belt.               0.2       85.00


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Date        Consultant     Description                                              Hours       Fees

Asset Analysis and Recovery
1/9/2007    Harvick, C.    Review Colt documents on Network and discussion            0.2       85.00
                           with J. Evans to prepare a recovery binder.

1/9/2007    Harvick, C.    Review Colt e-mails and send to D. Belt.                   0.4      170.00

1/9/2007    Harvick, C.    Review of BySynergy Application for 2004, Order and        0.5      212.50
                           Subpoena.

1/9/2007    Harvick, C.    Review BySynergy loan documents and respond to             0.5      212.50
                           various questions from counsel.

1/9/2007    Harvick, C.    Continue review of BySynergy Application for 2004,         0.8      340.00
                           Order and Subpoena. Review and send various e-
                           mails regarding same to Diversified Trust Deed Fund
                           team, J. Reed and S. Tinge.

1/9/2007    Tucker, M.     Analysis of Franklin-Stratford and Interstate              0.7      367.50
                           Commerce loans to respond to interested party.

1/9/2007    Tucker, M.     Review e-mail on issues for BySynergy 2004 exams.          0.2      105.00

1/9/2007    Tucker, M.     Discuss immediate tasks needed and follow up T.            0.3      157.50
                           Allison items with C. Harvick.

1/10/2007   Harvick, C.    Final review of BySynergy Application for 2004, Order      0.2       85.00
                           and Subpoena, send comments to team regarding
                           same.

1/10/2007   Harvick, C.    Call with M. Tucker to discuss BySynergy 2004              0.3      127.50
                           preparation and analysis of release of guarantee.

1/10/2007   Harvick, C.    Participate in call with M. Levinson, J. Hermann and       0.3      127.50
                           M. Tucker to discuss Tree Moss hearing and schedule
                           for tomorrow.

1/10/2007   Harvick, C.    Call with C. McClellen to find out the status of the       0.1       42.50
                           December Collections report.

1/10/2007   Harvick, C.    Review December collection report and loan summary         0.7      297.50
                           and prepare Diversified Trust Deed Fund's collection
                           summary through December 27.

1/10/2007   Tucker, M.     Review numerous e-mails on BySynergy 2004                  0.9      472.50
                           preparation; analysis of release of guarantee; discuss
                           same with C. Harvick.

1/10/2007   Tucker, M.     Conference with M. Levinson, J. Hermann and C.             0.3      157.50
                           Harvick regarding Tree Moss sharing and next steps.

1/11/2007   Harvick, C.    Review Tree Moss and Investment Partners operating         0.5      212.50
                           reports and various related documents and send
                           comments and documents to Diversified Trust Deed
                           Fund team.

1/11/2007   Harvick, C.    Discussions with J. Reed and M. Haftl (part) regarding     0.9      382.50
                           data requests for Tanamera Properties, Tree Moss,
                           Colt and Investment Partners.

1/11/2007   Peterson, L.   Prepare Diversified Trust Deed Fund November loan          1.3      422.50
                           summary schedule.

1/12/2007   Tucker, M.     Correspond with T. Hansen regarding documents and          0.3      157.50
                           interest in BySynergy; review pictures of project.


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Date        Consultant     Description                                              Hours       Fees

Asset Analysis and Recovery
1/15/2007   Belt, D.       Review Colt loan documentation received from C.            3.1    1,472.50
                           Harvick including email correspondence regarding
                           loan balances, audit report and confirmations related
                           to Homes for America, and additional documents
                           received from Mesirow.

1/15/2007   Belt, D.       Discuss Colt documents and e-mails regarding audit         0.5      237.50
                           confirmation, budget for Colt Gateway and HFA audit
                           with C. Harvick.

1/15/2007   Belt, D.       Prepare generic document request list for A. Loraditch     0.7      332.50
                           to be used for Beadle, McBride 2004 exam.

1/15/2007   Harvick, C.    Review and respond to M. Pugsley e-mails regarding         0.2       85.00
                           the productions of USA Commercial Mortgage
                           documents to FTI and Lewis & Roca.

1/15/2007   Harvick, C.    Review e-mails regarding Investment Partners, Tree         0.3      127.50
                           Moss and Tanamera property documents and save
                           documents on network.

1/15/2007   Harvick, C.    Review November Loan Report for Diversified Trust          0.2       85.00
                           Deed Fund and send to R. Ragni for posting on
                           Diversified Trust Deed Fund's web site.

1/15/2007   Harvick, C.    Review of Colt documents (audit confirmation, budget       1.0      425.00
                           for Colt Gateway and HFA audit) and e-mails
                           regarding same. Discuss with D. Belt.

1/16/2007   Harvick, C.    Review of Investors VI's operating agreement and           0.3      127.50
                           Articles of Organization (California and Nevada). E-
                           mail Diversified Trust Deed Fund team regarding
                           same.

1/16/2007   Harvick, C.    Review J. Hermann e-mail regarding intercompany            0.7      297.50
                           claims and Colt and Fiesta McNaughton payoff,
                           request and review Fiesta McNaughton payoff
                           statement and respond to J. Hermann e-mail. Update
                           Diversified Trust Deed Fund task list regarding same.

1/16/2007   Tucker, M.     Review various e-mails and information on servicing        0.3      157.50
                           rights for Colt loan.

1/17/2007   Harvick, C.    Review of CDs containing USA Commercial Mortgage           0.6      255.00
                           documents provided by M. Pugsley and review of the
                           index of documents produced to the SEC. Send e-
                           mail to Diversified Trust Deed Fund's team regarding
                           same.

1/17/2007   Peterson, L.   Update Diversified Trust Deed Fund collections             0.7      227.50
                           schedules with amounts collected for weeks ending
                           1/5/07 and 1/12/07.

1/17/2007   Tucker, M.     Review e-mail on motion to terminate Colt Gateway          0.3      157.50
                           servicing; draft e-mail to T. Allison on same.

1/18/2007   Evans, J.      Download USA Commercial Mortgage documents                 5.0      250.00
                           produced to SEC by Bryan Cave.

1/18/2007   Harvick, C.    Participate in call with J. Hermann and M. Levinson to     0.5      212.50
                           discus and review the Objection to Motion for Order to
                           Shorten Time regarding the servicing of Colt Gateway.



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Date        Consultant    Description                                             Hours       Fees

Asset Analysis and Recovery
1/19/2007   Belt, D.      Draft Colt term sheet and discuss with C. Harvick and     0.2       95.00
                          M. Tucker.

1/19/2007   Evans, J.     Download USA Commercial Mortgage documents                1.0       50.00
                          produced to SEC by Bryan Cave

1/19/2007   Harvick, C.   Review of USA Commercial Mortgage files provided          0.6      255.00
                          to SEC by Bryan Cave.

1/19/2007   Harvick, C.   Review draft Colt term sheet and discuss same with        0.3      127.50
                          M. Tucker and D. Belt.

1/19/2007   Harvick, C.   Call with M. Pugsley to discuss the documents             0.3      127.50
                          produced to SEC , where the copies are and what has
                          or has not been indexed.

1/19/2007   Harvick, C.   Review index and prepare document request for             0.9      382.50
                          documents produced to SEC. Discuss same with M.
                          Tucker and e-mail M. Pugsley.

1/19/2007   Harvick, C.   Send e-mail and coordinate call with M. Pugsley to        0.2       85.00
                          discuss the source of the documents RQN provided to
                          SEC.

1/19/2007   Harvick, C.   Left message for J. Lisowski or S. Flett to call me.      0.1       42.50

1/19/2007   Tucker, M.    Discuss the document request for documents                0.2      105.00
                          produced for the SEC with C. Harvick.

1/19/2007   Tucker, M.    Participate in conference with Debtor on various          0.6      315.00
                          collection issues on Colt and Investors VI.

1/19/2007   Tucker, M.    Research and analysis on Colt issues and loan             1.2      630.00
                          support. Plan e-mail and document searches on topic.

1/19/2007   Tucker, M.    Review letter to Trustee from NREH on buyer interest      0.7      367.50
                          and other Tree Moss and Investors VI collection
                          issues.

1/19/2007   Tucker, M.    Discuss draft Colt term sheet with C. Harvick and D.      0.2      105.00
                          Belt.

1/22/2007   Belt, D.      Review Colt amended operating agreement and               1.3      617.50
                          parcel descriptions.

1/22/2007   Harvick, C.   Review BySynergy documents (loan document,                2.5    1,062.50
                          appraisal, title reports, etc.) and prepare BySynergy
                          summary analysis.

1/22/2007   Harvick, C.   Review CDs produced to SEC and request index from         0.5      212.50
                          M. Pugsley; discuss same with M. Tucker.

1/22/2007   Harvick, C.   Discuss with S. Martinez the search tool options          0.6      255.00
                          needed to analyze Diversified Trust Deed Fund and
                          USA Commercial Mortgage electronic files and e-mail.

1/22/2007   Harvick, C.   Send e-mail to T. Pritchard requesting index of           0.3      127.50
                          documents produced to SEC.

1/22/2007   Harvick, C.   Review e-mail regarding payoff of B. Russell loans        0.1       42.50
                          (Franklin-Stratford, I-40, etc.), outstanding amounts
                          due and payoff requirements.



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Date        Consultant     Description                                                Hours       Fees

Asset Analysis and Recovery
1/22/2007   Harvick, C.    Review Colt term sheet.                                      0.2       85.00

1/22/2007   Harvick, C.    Review BySynergy website.                                    0.2       85.00

1/22/2007   Peterson, L.   Review of schedule created by Debtor in November             0.5      162.50
                           2006 which listed amounts of equity for all investors in
                           Diversified Trust Deed Fund.

1/22/2007   Tucker, M.     Review documents from D. Monson regarding                    0.8      420.00
                           Franklin-Stratford payoff and related e-mails on exit
                           fees and accepting payoff.

1/22/2007   Tucker, M.     Follow up on access to documents produced to SEC             0.4      210.00
                           and index of same; discuss same with C. Harvick.

1/23/2007   Belt, D.       Review all data and information obtained relative to         5.7    2,707.50
                           the Colt Gateway loan and begin preliminary drafting
                           of list of all documents supporting the position that
                           cash infusions were loans and not capital
                           contributions.

1/23/2007   Belt, D.       Discuss Colt status, available documents and tasks           0.5      237.50
                           moving forward with C. Harvick.

1/23/2007   Evans, J.      Organize BySynergy documents.                                1.0       50.00

1/23/2007   Harvick, C.    Call with L. Bauck regarding clarification of Mesirow's      0.2       85.00
                           request for Tree Moss documentation.

1/23/2007   Harvick, C.    Call with L. Bauck regarding Mesirow's request for           0.2       85.00
                           Tree Moss documentation.

1/23/2007   Harvick, C.    Review of Tree Moss/EPIC Loan History Report and             1.3      552.50
                           summary of expenses advanced by Diversified Trust
                           Deed Fund.

1/23/2007   Harvick, C.    Discuss Colt status, available documents and tasks           0.5      212.50
                           moving forward with D. Belt.

1/23/2007   Harvick, C.    Call with J. Hermann to discuss the status of Tree           0.2       85.00
                           Moss and Investors VI pre-trial briefs; left message for
                           L. Schwartzer regarding same.

1/23/2007   Harvick, C.    Call with A. Stevens regarding BySynergy transaction         0.5      212.50
                           history and request for additional documentation.

1/23/2007   Harvick, C.    Prepare support documentation package regarding              0.6      255.00
                           Tree Moss as requested by the Debtor; send
                           documents via e-mail to S. Smith and L. Bauck.

1/23/2007   Harvick, C.    Review B. Russell proposal for Franklin-Stratford and        0.4      170.00
                           other loans and review e-mails regarding deal issues.

1/23/2007   Harvick, C.    Continue review of BySynergy documents and draft             1.3      552.50
                           BySynergy summary analysis.

1/23/2007   Peterson, L.   Review the nature of the Diversified Trust Deed Fund         0.8      260.00
                           advances to Epic Resorts.

1/23/2007   Peterson, L.   Prepare Diversified Trust Deed Fund December 2006            1.5      487.50
                           loan summary schedule.




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Date        Consultant    Description                                                 Hours       Fees

Asset Analysis and Recovery
1/23/2007   Tucker, M.    Review numerous e-mails on B. Russell payoff on               0.6      315.00
                          Franklin-Stratford and review of loan documents.

1/23/2007   Tucker, M.    Review trial motion for Tree Moss, related e-mails and        1.3      682.50
                          respond to same.

1/23/2007   Tucker, M.    Review BySynergy loan issues and history.                     0.8      420.00

1/23/2007   Tucker, M.    Review Colt loan documents and research issues for            1.7      892.50
                          potential settlement with Colt.

1/23/2007   Tucker, M.    Review December loan summary provided by                      0.1       52.50
                          Mesirow.

1/23/2007   Tucker, M.    Conference with M. Levinson regarding Tree Moss               0.7      367.50
                          and Investment Partners VI litigation and collection
                          issues.

1/24/2007   Belt, D.      Finalize list of documents supporting Colt funding as         1.3      617.50
                          loans.

1/24/2007   Belt, D.      Discuss loan documentation for Colt Gateway with C.           0.3      142.50
                          Harvick

1/24/2007   Belt, D.      Participate in discussions with A. Jarvis, M. Tucker, C.      0.8      380.00
                          Harvick, M. Levinson and J. Hermann regarding Colt
                          collections efforts, current negotiations and next steps.

1/24/2007   Belt, D.      Participate in discussions with M. Tucker, C. Harvick,        1.0      475.00
                          M. Levinson and J. Hermann regarding Colt
                          collections efforts, current negotiations and next steps.

1/24/2007   Belt, D.      Participate in discussions with A. Jarvis, M. Tucker, C.      0.4      190.00
                          Harvick, M. Levinson and J. Hermann regarding HMA
                          Sales, Investors VI, and Tree Moss actions.

1/24/2007   Harvick, C.   Call with J. Ray (FTI's electronic discovery team) to         0.5      212.50
                          discuss the necessary steps in preserving the data
                          post effective data for pending and future litigation.

1/24/2007   Harvick, C.   Participate in discussions with A. Jarvis, M. Tucker, D.      0.4      170.00
                          Belt, M. Levinson and J. Hermann regarding HMA
                          Sales, Investors VI, and Tree Moss actions.

1/24/2007   Harvick, C.   Participate in discussions with M. Tucker, D. Belt, M.        1.0      425.00
                          Levinson and J. Hermann regarding Colt collections
                          efforts, current negotiations and next steps.

1/24/2007   Harvick, C.   Participate in discussions with A. Jarvis, M. Tucker, D.      0.8      340.00
                          Belt, M. Levinson and J. Hermann regarding Colt
                          collections efforts, current negotiations and next steps.

1/24/2007   Harvick, C.   Review motion regarding automatic stay to prevent             0.2       85.00
                          foreclosure of Huntsville collateral by a third party.

1/24/2007   Harvick, C.   Review payoff statements and e-mails regarding B.             0.1       42.50
                          Russell loans.

1/24/2007   Harvick, C.   Send e-mail to J. Ray regarding electronic discovery          0.2       85.00
                          for Diversified Trust Deed Fund litigation.




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Date        Consultant     Description                                                 Hours       Fees

Asset Analysis and Recovery
1/24/2007   Harvick, C.    Review of Tree Moss trial brief and related Tree Moss         1.3      552.50
                           and Diversified Trust Deed Fund documents and send
                           comments to team regarding same.

1/24/2007   Harvick, C.    Request copies of all Colt files from Debtor; discuss         0.2       85.00
                           same with J. Reed.

1/24/2007   Harvick, C.    Meet with D. Belt to discuss his review of Colt and           0.3      127.50
                           deal points.

1/24/2007   Harvick, C.    Review of Tree Moss order to employ real estate               0.1       42.50
                           expert.

1/24/2007   Harvick, C.    Review of revised Tree Moss Trial Brief and related e-        0.3      127.50
                           mails.

1/24/2007   Harvick, C.    Review e-mails related to Investors VI involuntary            0.2       85.00
                           filing.

1/24/2007   Harvick, C.    Review of Chicago Title Insurance letter and reply to         0.2       85.00
                           A. Loraditch e-mail.

1/24/2007   Tucker, M.     Review additional changes to the Tree Moss trial brief        0.9      472.50
                           including related e-mails and documents.

1/24/2007   Tucker, M.     Participate in discussions with A. Jarvis, C. Harvick,        0.8      420.00
                           D. Belt, M. Levinson and J. Hermann regarding Colt
                           collections efforts, current negotiations and next steps.

1/24/2007   Tucker, M.     Participate in discussions with A. Jarvis, C. Harvick,        0.4      210.00
                           D. Belt, M. Levinson and J. Hermann regarding HMA
                           Sales, Investors VI, and Tree Moss actions.

1/24/2007   Tucker, M.     Participate in discussions with C. Harvick, D. Belt, M.       1.0      525.00
                           Levinson and J. Hermann regarding Colt collections
                           efforts, current negotiations and next steps.

1/25/2007   Harvick, C.    Review of Tabas and Fertitta 2004 filing regarding            0.2       85.00
                           Colt and e-mail regarding same.

1/25/2007   Harvick, C.    Discussion with M. Tucker regarding electronic                0.3      127.50
                           evidence and transition.

1/25/2007   Peterson, L.   Update Diversified Trust Deed Fund post petition              0.4      130.00
                           collection schedule with cash collections for the week
                           ending 1/19/07.

1/25/2007   Tucker, M.     Review additional e-mails on B. Russell loan payoffs          0.5      262.50
                           including Interstate Commerce Center Phase 2 and
                           Franklin-Stratford and follow up on Interstate
                           Commerce Center Phase 1 status.

1/25/2007   Tucker, M.     Review Bullard and Tabas motions for 2004 regarding           0.3      157.50
                           Colt servicing and related e-mails.

1/25/2007   Tucker, M.     Review motion to be filed related to stay in Huntsville       0.5      262.50
                           Loan Bankruptcy case and related follow up on loan
                           status.

1/25/2007   Tucker, M.     Review and comment on application for employment              0.6      315.00
                           of Santoro Driggs for trustee Lisowski, including draft
                           e-mail on issues and review same from A. Loraditch
                           and J. Hermann.


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Date        Consultant    Description                                                  Hours       Fees

Asset Analysis and Recovery
1/26/2007   Belt, D.      Review correspondence from USA Commercial                      0.8      380.00
                          Mortgage counsel regarding documentation to provide
                          to contingent litigation counsel and coordination of
                          procuring documents.

1/26/2007   Tucker, M.    Determine status of collections.                               0.4      210.00

1/26/2007   Tucker, M.    Review e-mails from L. Schwartzer and respond                  0.3      157.50
                          regarding Tree Moss sale opportunity and
                          communication with R. Walker.

1/26/2007   Tucker, M.    Review e-mail on status of Beadle Stipulation.                 0.1       52.50

1/27/2007   Harvick, C.   Participate in call with J. Hermann, M. Tucker and M.          1.0      425.00
                          Levinson to discuss sale of the EPIC property, the
                          hearing on Monday, status of Investors VI bankruptcy
                          and Colt Gateway recovery (servicing rights, 2004
                          exams filed, etc.)

1/27/2007   Tucker, M.    Conference call with M. Levinson, J. Hermann and C.            1.0      525.00
                          Harvick regarding Investment Partners VI involuntary
                          strategy and upcoming hearings and Tree Moss sale
                          offers and upcoming hearings.

1/27/2007   Tucker, M.    Review Investors VI docket for current issues.                 0.1       52.50

1/27/2007   Tucker, M.    Review Tree Moss docket for current issues.                    0.1       52.50

1/27/2007   Tucker, M.    Review motions for Colt 2004 and related e-mails.              0.3      157.50

1/29/2007   Harvick, C.   Review USA Commercial Mortgage cash collections                0.2       85.00
                          for fourth week in January; e-mail L. Peterson to
                          update summary report.

1/29/2007   Harvick, C.   Review Colt Gateway subpoena filed by Tabas and                0.2       85.00
                          related e-mails.

1/29/2007   Harvick, C.   Participate in call with B. Koe and J. Reed regarding          1.1      467.50
                          an update of Colt negotiations. Discuss same with M.
                          Tucker.

1/29/2007   Harvick, C.   Participate in call with M. Levinson, M. Tucker, J.            1.8      765.00
                          Herman and A. Loraditch to discuss Investor VI, Tree
                          Moss and Colt bankruptcy and collection action and
                          next steps.

1/29/2007   Harvick, C.   Participate in call (part) with S. Flett, A. Loraditch, J.     0.4      170.00
                          Hermann and M. Tucker to discuss status of Tree
                          Moss and Investors VI and request documents
                          received by Trustee.

1/29/2007   Harvick, C.   Review organization documents, financial documents             0.3      127.50
                          and tax returns for Securities and Realty provided by
                          Debtor.

1/29/2007   Tucker, M.    Conference with S. Flett, A. Loraditch, C. Harvick             1.9      997.50
                          (part) and J. Hermann regarding Tree Moss sale
                          process and issues with sale procedures; follow up
                          discussions adding M. Levinson on same.




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Date        Consultant    Description                                                 Hours       Fees

Asset Analysis and Recovery
1/29/2007   Tucker, M.    Review HFA 2005 audited financial statements and              0.3      157.50
                          draft 2006 information and send reply and issues to
                          counsel.

1/29/2007   Tucker, M.    Participate in Tree Moss court hearing on relief for          0.5      262.50
                          Stay.

1/29/2007   Tucker, M.    Review amended answer and response by Diversified             0.5      262.50
                          Trust Deed Fund to answer on Investors VI case.

1/29/2007   Tucker, M.    Review employment application for Diamond                     0.2      105.00
                          McCarthy.

1/29/2007   Tucker, M.    Conference call with J. Hermann, M. Levinson, C.              1.8      945.00
                          Harvick and A. Loraditch regarding Investors VI
                          bankruptcy and hearing issues, Tree Moss hearing
                          and sale issues and Colt collection and litigation
                          issues.

1/30/2007   Belt, D.      Review HFA audited 2005 and draft 2006 financial              1.0      475.00
                          statements forwarded by Mesirow.

1/30/2007   Belt, D.      Review multiple motions and pleadings relative to Colt        1.4      665.00
                          loan recovery efforts (2004 exams, depositions and
                          document production).

1/30/2007   Belt, D.      Review Amended HMA Sales Complaint received                   0.7      332.50
                          from counsel.

1/30/2007   Harvick, C.   Review Sunterra purchase agreement for EPIC                   0.2       85.00
                          property.

1/30/2007   Harvick, C.   Discussion with J. Hermann regarding Colt                     0.2       85.00
                          depositions scheduled on February 9th by J. Chubb
                          and Diversified Trust Deed Fund's ability to participate.

1/30/2007   Harvick, C.   Prepare for and participate in call with J. Hermann,          1.1      467.50
                          Debtor, USA Commercial Mortgage Committee
                          professionals and USA Commercial Mortgage Trust
                          professionals to discuss current developments and
                          next steps for payoff of B. Russell and Colt loans.

1/30/2007   Tucker, M.    Review list of 20 largest unsecured creditors in Tree         0.1       52.50
                          Moss.

1/30/2007   Tucker, M.    Review Sunterra offer for Tree Moss and discuss               0.8      420.00
                          same with Steve Varner, Sunterra CRO; forward
                          information to Diversified Trust Deed Fund team.

1/30/2007   Tucker, M.    Preliminary review of Colt HFA financial statements           0.3      157.50
                          and e-mails on loan balance issues.

1/30/2007   Tucker, M.    Participate in conference call with J. Lisowski, T.           1.9      997.50
                          Zimalia, S. Flett, J. Hermann and A. Loraditch
                          regarding Tree Moss sale procedures and property
                          status; follow up discussion with Diversified Trust
                          Deed Fund team.

1/31/2007   Harvick, C.   Participate in call with J. Hermann, M. Tucker and A.         1.9      807.50
                          Loraditch to discuss the Tree Moss hearing, meetings
                          with the Trustee of Tree Moss and Investor's VI, Colt
                          developments and next steps.



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Date         Consultant       Description                                              Hours       Fees

Asset Analysis and Recovery
1/31/2007    Harvick, C.      Discussion with M. Tucker regarding obtaining results      0.2       85.00
                              of Colt document searches.

1/31/2007    Harvick, C.      Review EPIC purchase offers of two potential buyers        0.4      170.00
                              and numerous related e-mails regarding same.

1/31/2007    Peterson, L.     Updated Diversified Trust Deed Fund post petition          0.5      162.50
                              collection schedule with cash collections for the week
                              ending 1/26/07.

1/31/2007    Tucker, M.       Review Sunterra sale objection in Tree Moss.               0.2      105.00

1/31/2007    Tucker, M.       Discussion with C. Harvick regarding obtaining results     0.2      105.00
                              of Colt document searches.

1/31/2007    Tucker, M.       Conference with J. Hermann, A. Loraditch and C.            1.9      997.50
                              Harvick regarding Tree Moss sale, hearing and
                              Investors VI status hearing and related follow up
                              actions and strategy.

1/31/2007    Tucker, M.       Participate in status conference for Investors VI and      1.3      682.50
                              sale motion issues for Tree Moss.

Total for Asset Analysis and Recovery:                                                 123.9   54,432.50

Asset Sale
1/9/2007     Harvick, C.      Review B. Russell Payout Schedule and send e-mail          0.2       85.00
                              to M. Tucker.

1/10/2007    Harvick, C.      Review of Interstate Commerce and Franklin-Stratford       0.5      212.50
                              loans to address offer from third party.

1/15/2007    Harvick, C.      Review of BySynergy pictures and documents (M&I            0.4      170.00
                              Deed of Trust and Schuerman Subordination)
                              provided by T. Hansen of Downtown Homes, LLC and
                              e-mails regarding same.

1/15/2007    Harvick, C.      Call with M. Tucker to discuss T. Hansen offers for        0.2       85.00
                              Diversified Trust Deed Fund's participation in
                              BySynergy and Huntsville.

1/15/2007    Tucker, M.       Call with C. Harvick to discuss T. Hansen offers for       0.2      105.00
                              Diversified Trust Deed Fund's participation in
                              BySynergy and Huntsville.

1/16/2007    Harvick, C.      Review statement of Compass Partners regarding the         0.1       42.50
                              assignment of Direct Lender's interest.

1/17/2007    Harvick, C.      Review third party e-mail requesting a meeting to          0.1       42.50
                              discuss purchase of Diversified Trust Deed Fund's
                              assets.

1/23/2007    Harvick, C.      Prepare for and participate in call with Suncal, M.        0.4      170.00
                              Levinson, R. Charles, G. Berman and M. Tucker to
                              discuss purchase of Diversified Trust Deed Fund and
                              USA Commercial Mortgage assets.

1/23/2007    Tucker, M.       Prepare for and participate in conference call with        0.5      262.50
                              Suncal, M. Levinson, R. Charles, G. Berman and C.
                              Harvick to discuss purchase of Diversified Trust Deed
                              Fund and USA Commercial Mortgage assets.



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Date         Consultant          Description                                              Hours       Fees

Asset Sale
1/23/2007    Tucker, M.          Review numerous e-mails on appeal strategy issues          0.6      315.00
                                 and next steps in closing Compass sale and
                                 responses.

1/25/2007    Tucker, M.          Review inquiry on buying BySynergy loan and                0.6      315.00
                                 respond to same.

1/26/2007    Tucker, M.          Discussion with M. Levinson regarding Compass              0.5      262.50
                                 closing issues.

Total for Asset Sale:                                                                       4.3    2,067.50

Case Administration
1/9/2007     Harvick, C.         Review e-mails regarding recent court filings.             0.2       85.00

1/10/2007    Tucker, M.          Discuss potential conflict issue with B. Olson.            0.2      105.00

1/15/2007    Harvick, C.         Finalize Diversified Trust Deed Fund's document            0.7      297.50
                                 request list and send to J. Reed.

1/16/2007    Belt, D.            Review and discuss document request and task list          0.4      190.00
                                 with C. Harvick to follow-up with USA Commercial
                                 Mortgage when on-site on Thursday.

1/16/2007    Harvick, C.         Review and discuss document request and task list          0.4      170.00
                                 with D. Belt to follow-up with USA Commercial
                                 Mortgage when on-site on Thursday.

1/17/2007    Harvick, C.         Call with J. Reed to discuss Diversified Trust Deed        0.1       42.50
                                 Fund's data request.

Total for Case Administration:                                                              2.0      890.00

Claims Administration and Objections
1/15/2007    Tucker, M.          Respond to A. Loraditch e-mail on claim objection.         0.2      105.00

1/16/2007    Harvick, C.         Review of Diversified Trust Deed Fund's objection to       0.7      297.50
                                 Diversified Trust Deed Fund claims by McGimseys
                                 and Clark.

1/16/2007    Harvick, C.         Review of final version and M. Tucker's Declaration in     0.5      212.50
                                 support of Diversified Trust Deed Fund's objection to
                                 Diversified Trust Deed Fund's claims by McGimseys
                                 and Clark. E-mail comments to Diversified Trust Deed
                                 Fund team regarding same.

1/16/2007    Tucker, M.          Review objection to McGinsey and Clark claims and          0.8      420.00
                                 M. Tucker Declaration.

1/17/2007    Harvick, C.         Discuss with M. Tucker changes to his Declaration in       0.2       85.00
                                 support of Diversified Trust Deed Fund's objection to
                                 Diversified Trust Deed Fund's claims by McGimseys
                                 and Clark.

1/17/2007    Harvick, C.         Two calls with A. Loraditch to discuss M. Tucker's         0.2       85.00
                                 Declaration in support of Diversified Trust Deed
                                 Fund's objection to Diversified Trust Deed Fund's
                                 claims by McGimseys and Clark.




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Date        Consultant         Description                                              Hours       Fees

Claims Administration and Objections
1/17/2007   Tucker, M.         Discuss changes with C. Harvick to M. Tucker               0.2      105.00
                               Declaration in support of Diversified Trust Deed
                               Fund's objection to Diversified Trust Deed Fund's
                               claims by McGimseys and Clark.

1/24/2007   Harvick, C.        Review Lewis and Roca and Sierra fee application           0.1       42.50
                               and related e-mail.

Total for Claims Administration and Objections:                                           2.9    1,352.50

Collection Account Distributions and Related Disputes
1/16/2007   Belt, D.           Review contrasting co-mingling analyses prepared by        0.8      380.00
                               Mesirow and FTI in preparation for call with direct
                               lender's counsel.

1/16/2007   Belt, D.           Call with direct lender's counsel and M. Tucker            1.0      475.00
                               regarding co-mingled cash recovery.

1/16/2007   Tucker, M.         Conference with G. Garman, B. Higgens and D. Belt          1.6      840.00
                               regarding cash in trust account prepetition; various
                               follow up including review of schedule from S. Smith
                               and e-mail questions to S. Smith on same.

1/19/2007   Belt, D.           Call with S. Smith regarding co-mingled cash analysis.     0.5      237.50

1/19/2007   Tucker, M.         Review cash in collection account analysis and             1.4      735.00
                               discuss same with S. Smith pursuant to proposal by
                               Direct Lender Committee to settle issue.

1/23/2007   Harvick, C.        Review of December Distribution Report to approve          0.6      255.00
                               so Debtor can proceed with sending checks.

1/23/2007   Harvick, C.        Review of Debtor's suggested holdback and payment          1.1      467.50
                               of Diversified Trust Deed Funds including review and
                               verification of Diversified Trust Deed Fund's advanced
                               principal and interest.

1/23/2007   Tucker, M.         Review cash issue for amounts in collection account        1.4      735.00
                               and issues raised by S. Smith and direct lenders
                               counsel.

1/24/2007   Harvick, C.        Call with S. Smith to discuss Diversified Trust Deed       0.2       85.00
                               Fund's prepaid interest amounts at petition and
                               disbursement of funds.

1/30/2007   Belt, D.           Prepare analysis of prepetition collection account         1.2      570.00
                               cash activity by comparing prior FTI analysis to S.
                               Smith's analysis.

Total for Collection Account Distributions and Related Disputes:                          9.8    4,780.00

Court Hearings
1/2/2007    Tucker, M.         Discussion with M. Levinson on court hearings for          0.2      105.00
                               1/3/07.

1/3/2007    Harvick, C.        Prepare for and attend hearing regarding Investment        3.2    1,360.00
                               Partners protective order, HMA Sales, Diversified
                               Trust Deed Fund claims, Plan Confirmation Order, etc.




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Date        Consultant       Description                                              Hours       Fees

Court Hearings
1/3/2007    Harvick, C.      Travel to Las Vegas for hearing regarding Investment       2.2      935.00
                             Partners protective order, HMA Sales, Diversified
                             Trust Deed Fund claims, Plan Confirmation Order,
                             etc., and meeting with Debtor.

1/4/2007    Harvick, C.      Return travel from court hearing in Las Vegas.             2.5    1,062.50

1/9/2007    Harvick, C.      Review Court Call charges.                                 0.1       42.50

1/29/2007   Harvick, C.      Listen to Tree Moss court hearing telephonically.          0.3      127.50

1/29/2007   Smith, S.        Various calls to set up Court call for USA hearing for     0.5       47.50
                             M. Tucker.

1/31/2007   Harvick, C.      Attend USA Commercial Mortgage Court Hearing               1.2      510.00
                             telephonically.

1/31/2007   Tucker, M.       Listen to court hearing on various calendared issues       2.5    1,312.50
                             on USA Commercial Mortgage.

Total for Court Hearings:                                                              12.7    5,502.50

Employment/Fee Applications
1/18/2007   Smith, S.        Format time entries for December.                          4.5      427.50

1/22/2007   Harvick, C.      Review of FTI's December time and expense detail.          2.4    1,020.00

1/22/2007   Smith, S.        Preliminary reconciliations to December time and           2.5      237.50
                             expenses.

1/24/2007   Harvick, C.      Review of S. Smith e-mail regarding payment to             0.1       42.50
                             Diversified Trust Deed Fund professionals and send
                             response.

1/25/2007   Smith, S.        Complete December interim monthly statement and e-         2.3      218.50
                             mail to recipients.

1/25/2007   Tucker, M.       Review and edit December interim monthly statement         1.2      630.00
                             time.

Total for Employment/Fee Applications:                                                 13.0    2,576.00

Financing
1/2/2007    Harvick, C.      Review Diversified Trust Deed Fund monthly                 0.3      127.50
                             operating reports and tax implication e-mails.

1/3/2007    Peterson, L.     Review November monthly operating reports and              0.5      162.50
                             updated Diversified Trust Deed Fund monthly
                             operating report summary schedule.

1/15/2007   Belt, D.         Meet with C. Harvick to discuss Diversified Trust Deed     0.2       95.00
                             Fund's monthly operating reports and cash budget,
                             locate and e-mail schedules regarding same.

1/15/2007   Harvick, C.      Meet with D. Belt to discuss Diversified Trust Deed        0.2       85.00
                             Fund's monthly operating reports and cash budget,
                             locate and e-mail schedules regarding same.




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Date        Consultant     Description                                               Hours       Fees

Financing
1/19/2007   Harvick, C.    Review of USA Commercial Mortgage/Diversified               0.3      127.50
                           Trust Deed Fund budget to actuals provided by USA
                           Commercial Mortgage and send e-mail requesting
                           electronic copy.

1/23/2007   Tucker, M.     Review December operating reports.                          0.2      105.00

1/25/2007   Harvick, C.    Review affidavit of Hartley for employment application      0.1       42.50
                           of KPMG.

1/25/2007   Peterson, L.   Update Diversified Trust Deed Fund monthly                  0.9      292.50
                           operating report summary schedule with December
                           2006 monthly operating report.

1/25/2007   Tucker, M.     Review employment application of KPMG for tax work;         0.2      105.00
                           draft e-mail to C. Harvick regarding follow up on same.

1/29/2007   Harvick, C.    Review updated monthly operating report Diversified         0.2       85.00
                           Trust Deed Fund summary.

1/30/2007   Harvick, C.    Discuss status of FTI data request and hiring of tax        0.3      127.50
                           consultant with S. Smith.

Total for Financing:                                                                   3.4    1,355.00

IP/10-90/Ashby Recovery
1/2/2007    Harvick, C.    Review results of L. Peterson's review of Mesirow's         0.2       85.00
                           revised 10-90 Borrower History Report.

1/2/2007    Harvick, C.    Review USA Commercial Mortgage's request for 2004           0.2       85.00
                           exam of Great White and HMA Sales and e-mail
                           regarding same.

1/2/2007    Harvick, C.    Review Debtor's Motion for Prejudgment Write of             0.7      297.50
                           Attachment and T. Allison's support Declaration
                           regarding HMA Sales; review numerous e-mails on
                           same.

1/2/2007    Harvick, C.    Review 10-90 funding detail and verify changes to           0.4      170.00
                           Balance by Loan Report prepared by Mesirow are
                           supported. Send e-mail to L. Peterson to update FTI
                           schedules.

1/2/2007    Harvick, C.    Review e-mail from L. Peterson regarding a                  0.3      127.50
                           discrepancy found in Mesirow's 10-90 Balance by
                           Loan Report that was suppose to be corrected.
                           Review past e-mail and send follow up e-mail to L.
                           Peterson regarding same.

1/2/2007    Harvick, C.    Discuss status of HMA Sales recovery efforts,               0.4      170.00
                           Investment Partners protective order stipulation and
                           other case events with M. Tucker.

1/2/2007    Peterson, L.   Comparison of FTI's 10-90 Loan History Report and           1.0      325.00
                           Mesirow's updated Loan History Report and e-mail C.
                           Harvick the differences.

1/2/2007    Peterson, L.   Update 10-90 Loan History Report to match Mesirow's         0.5      162.50
                           10-90 Loan History Report.




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Date       Consultant     Description                                               Hours       Fees

IP/10-90/Ashby Recovery
1/2/2007   Tucker, M.     Discuss status of HMA Sales recovery efforts,               0.4      210.00
                          Investment Partners protective order stipulation and
                          other case events with C. Harvick.

1/2/2007   Tucker, M.     Review several e-mails for E. Monson, S. Freeman,           0.4      210.00
                          M. Levinson and others regarding Document
                          Protection Order issues.

1/3/2007   Harvick, C.    Discuss Mesirow tracing of 10-90 funds and transition       0.3      127.50
                          of work product with P. Cheng.

1/3/2007   Harvick, C.    Discuss Investment Partners Protective Order with           0.6      255.00
                          Debtor professionals, M. Levinson and R. Charles.

1/3/2007   Harvick, C.    Discuss Investment Partners Protective Order with           0.2       85.00
                          Debtor professionals - M. Levinson, R. Walker, K.
                          Breem and R. Charles.

1/3/2007   Peterson, L.   E-mail Mesirow regarding the change in the date of          0.3       97.50
                          the $950K interest payment on Mesirow's 10-90 Loan
                          History Report.

1/4/2007   Peterson, L.   Review updated 10-90 Loan History Report provided           0.3       97.50
                          by Mesirow and compare to FTI 10-90 Loan History
                          Report.

1/5/2007   Harvick, C.    Review HMA Sales documents (Liberty Bank loan               0.6      255.00
                          documents, Royal Hotel closing statement, etc.) L.
                          Schwartzer received from B. Goold.

1/5/2007   Harvick, C.    Participate in call with P. McNicholas of Fiesta            1.2      510.00
                          Development regarding Ten Ninety LTD and Fiesta
                          Development loan payoffs and data request sent to J.
                          Milanowski. Review Capital Land Investors Operating
                          report and Ten Ninety loan documents regarding
                          same and prepare e-mail to Diversified Trust Deed
                          Fund team.

1/5/2007   Harvick, C.    Review USA Commercial Mortgage news article                 0.1       42.50
                          regarding HMA Sales hearing.

1/5/2007   Harvick, C.    Review numerous e-mails regarding                           0.2       85.00
                          Temecula/Roripaugh bankruptcy filing and search
                          Internet for information regarding same.

1/5/2007   Harvick, C.    Review city of Temecula bond meeting notes for              0.3      127.50
                          information regarding Roripaugh.

1/5/2007   Tucker, M.     Review emails and follow up on bankruptcy of                0.3      157.50
                          Tanamera/Roripaugh, an Investment Partners entity.

1/6/2007   Harvick, C.    Participate in call with M. Tucker, M. Levinson and J.      1.4      595.00
                          Hermann to discuss collection of Investment Partners
                          loans (10-90, HMA Sales) and related litigation issues.

1/6/2007   Tucker, M.     Conference with M. Levinson & J. Hermann and C.             1.4      735.00
                          Harvick regarding collection on Investment loans
                          (HMA Sales and 10-90) as well as litigation issues.

1/8/2007   Harvick, C.    Discuss J. Mahoney call and Roripaugh                       0.2       85.00
                          developments with M. Tucker.




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Date        Consultant    Description                                              Hours       Fees

IP/10-90/Ashby Recovery
1/8/2007    Harvick, C.   Prepare e-mail to M. Levinson and read response e-         0.1       42.50
                          mail regarding the Investment Partners Protective
                          Order.

1/8/2007    Harvick, C.   Send Diversified Trust Deed Fund audit reports to M.       0.2       85.00
                          Levinson and J. Hermann.

1/8/2007    Harvick, C.   Research 10-90 Inc. incorporation date and send            0.3      127.50
                          findings and support to Diversified Trust Deed Fund
                          team to show 10-90 Inc. was incorporated after the 10-
                          90 loan was made.

1/8/2007    Smith, S.     Organize data and create binder for HMA Sales              0.8       76.00
                          adversary action filed documents.

1/8/2007    Tucker, M.    Discussion with J. Mahoney (Ashby counsel) call to M.      0.7      367.50
                          Levinson on Roripaugh issues with M. Levinson and
                          J. Hermann.

1/8/2007    Tucker, M.    Discuss J. Mahoney call and Roripaugh                      0.2      105.00
                          developments with C. Harvick.

1/9/2007    Harvick, C.   Review e-mails regarding HMA Sales.                        0.2       85.00

1/9/2007    Harvick, C.   Participate in call with M. Levinson, J. Hermann, M.       1.2      510.00
                          Tucker, and J. Mahoney to discuss Ashby issues and
                          concerns regarding Roripaugh, Oak Valley and
                          Stoneridge projects.

1/9/2007    Harvick, C.   Print Investment Partners Protective Order and review      0.2       85.00
                          e-mails regarding same.

1/9/2007    Tucker, M.    Conference with J. Mahoney (Ashby counsel), M.             1.2      630.00
                          Levinson, C. Harvick and J. Hermann regarding 10-90
                          collateral and Ashby project status.

1/10/2007   Belt, D.      Review all emails, files and documents related to          3.7    1,757.50
                          HMA Sales (Royal Hotel).

1/10/2007   Belt, D.      Participate in meeting with C. Harvick to discuss HMA      0.5      237.50
                          Sales developments.

1/10/2007   Harvick, C.   Review of e-mails and data received from Ashby and         0.5      212.50
                          discuss same with M. Tucker; update data request.

1/10/2007   Harvick, C.   Participate in meeting with D. Belt to inform him of       0.5      212.50
                          HMA Sales developments.

1/10/2007   Tucker, M.    Review e-mail from D. Parker (Ashby counsel)               0.7      367.50
                          regarding access to Ashby related documents where
                          Investment Partners is partner; discuss same with C.
                          Harvick.

1/10/2007   Tucker, M.    Review e-mail on Great White and others to be added        0.2      105.00
                          as defendants in HMA Sales litigation.

1/11/2007   Belt, D.      Review Mesirow cash tracing chart involving funding        0.3      142.50
                          of Royal Hotel.

1/11/2007   Harvick, C.   Review Tanamera/Roripaugh LLC Memo of Points               0.4      170.00
                          and Authorities in support of Application for Writ of
                          Attachment.



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IP/10-90/Ashby Recovery
1/11/2007   Harvick, C.   Meeting with P. Cheng to discuss 10-90 tracing               0.4      170.00
                          exercise and available Realty data.

1/11/2007   Tucker, M.    Review and respond to e-mail from M. Levinson                0.2      105.00
                          regarding Ashby role in Tanamera/Roripaugh and
                          impact to Ashby USA.

1/11/2007   Tucker, M.    Review revised protective order language on                  0.4      210.00
                          Investment Partners documents.

1/15/2007   Harvick, C.   Review stipulated time reducing order for HMA Sales          0.3      127.50
                          parties and e-mail regarding same.

1/15/2007   Harvick, C.   Review Investment Partners Protective Order and              0.7      297.50
                          various e-mails regarding the same.

1/15/2007   Harvick, C.   Review of 10-90 tracing support binder and prepare           0.7      297.50
                          question list for Mesirow.

1/15/2007   Harvick, C.   Review e-mails and letters regarding the request for a       0.3      127.50
                          protective order for Great White documents.

1/15/2007   Harvick, C.   Review e-mails regarding HMA Sales (Royal Hotel)             0.1       42.50
                          and the disbursement of $100,000 to a disinterested
                          third party.

1/15/2007   Tucker, M.    Review several e-mails and letters regarding Great           0.8      420.00
                          White's 2004 deposition and requests for protective
                          order.

1/15/2007   Tucker, M.    Various follow up on Investment Partners' Protective         0.6      315.00
                          Order and review comments to draft order.

1/16/2007   Harvick, C.   Review e-mails regarding status of the Investment            0.2       85.00
                          Partners' Protective Order.

1/16/2007   Harvick, C.   Participate in call with R. Ashby, J. Mahoney, M.            1.2      510.00
                          Levinson and M. Tucker to discuss Roripaugh and a
                          loan from Ashby USA to Tanamera/Roripaugh LLC.
                          Subsequent discussion of call with M. Levinson.

1/16/2007   Tucker, M.    Participate in call (part) with R. Ashby, J. Mahoney, M.     0.7      367.50
                          Levinson and C. Harvick to discuss Roripaugh and a
                          loan from Ashby USA to Tanamera/Roripaugh LLC.
                          Subsequent discussion of call with M. Levinson.

1/16/2007   Tucker, M.    Review additional changes to Investment Partners             0.5      262.50
                          Protective Order.

1/16/2007   Tucker, M.    Follow up various HMA Sales collection and tracing           1.2      630.00
                          issues.

1/17/2007   Harvick, C.   Review and respond to e-mails regarding the                  0.1       42.50
                          Investment Partners Protective Order and documents
                          produced to SEC.

1/17/2007   Harvick, C.   Review of e-mail from J. Mahoney and attached                1.5      637.50
                          documents related to $4.2 million Roripaugh/Ashby
                          USA issue. Send an e-mail to Diversified Trust Deed
                          Fund team.

1/17/2007   Tucker, M.    Review e-mail and documents on Ashby issues                  0.3      157.50
                          related to Tanamera Roripaugh debt.


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IP/10-90/Ashby Recovery
1/18/2007   Harvick, C.   Participate in call with J. Hermann and M. Levinson to      0.5      212.50
                          discuss the HMA Sales complaint, response to Ashby
                          USA and research of insiders related to Investment
                          Partners.

1/19/2007   Harvick, C.   Review of Great White documents provided at 2004            0.3      127.50
                          exam.

1/19/2007   Harvick, C.   Review of equity schedule for Buffalo and OakMesa           0.5      212.50
                          provided by P. McNicholas at Fiesta.

1/19/2007   Harvick, C.   Review request for admission filed in the HMA Sales         0.3      127.50
                          case by USA Commercial Mortgage and Diversified
                          Trust Deed Fund.

1/19/2007   Harvick, C.   Left message for P. McNicholas to call me.                  0.1       42.50

1/22/2007   Harvick, C.   Discuss next steps regarding HMA Sales with M.              0.2       85.00
                          Tucker.

1/22/2007   Tucker, M.    Review e-mails regarding meeting on Ashby property          0.3      157.50
                          interest; draft e-mail replies.

1/22/2007   Tucker, M.    Review e-mail from J. Mahoney regarding Roripaugh           0.6      315.00
                          and perform analysis for response on allowing priority
                          payment to non Investment Partners partner.

1/22/2007   Tucker, M.    Review and respond to several e-mails related to            0.5      262.50
                          HMA Sales litigation issues and related document
                          availability and production; discuss next steps with C.
                          Harvick.

1/22/2007   Tucker, M.    Review current version of Investment Partners               0.5      262.50
                          Protective Order and related e-mails.

1/23/2007   Belt, D.      Review amended request for production of documents          0.7      332.50
                          sent to Sal Reale's attorney relative to sale of Royal
                          Hotel.

1/23/2007   Harvick, C.   Review of request for documents of Sal Reale                0.2       85.00
                          regarding HMA Sales.

1/23/2007   Harvick, C.   Draft response to J. Mahoney regarding $4.2 million         0.4      170.00
                          Tanamera/Roripaugh issue.

1/23/2007   Tucker, M.    Review and analysis of response to Ashby related to         0.8      420.00
                          Roripaugh project and debt by Tanamera Roripaugh
                          being an Investment Partners assumption vs. Ashby.

1/24/2007   Belt, D.      Review HMA Sales requests for document production           0.8      380.00
                          and Mesirow concerns about meeting requests.

1/24/2007   Harvick, C.   Request information from S. Noouna regarding Royal          0.1       42.50
                          Hotel.

1/24/2007   Harvick, C.   Review First Amended Complaint and various e-mails          0.4      170.00
                          regarding HMA Sales.

1/24/2007   Harvick, C.   Review of S. Reale interrogatories and request for          0.2       85.00
                          documents.

1/24/2007   Harvick, C.   Review e-mails from Debtor regarding discussions            0.1       42.50
                          with R. Walker.


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Date        Consultant    Description                                                 Hours       Fees

IP/10-90/Ashby Recovery
1/24/2007   Tucker, M.    Review e-mail to J. Mahoney regarding Diversified             0.3      157.50
                          Trust Deed Fund response to Ashby request for
                          priority return related to Roripaugh; follow up e-mail to
                          M. Levinson on related issues.

1/24/2007   Tucker, M.    Review additional e-mails and issues related to HMA           0.9      472.50
                          Sales litigation and document production.

1/25/2007   Belt, D.      Review Great White 2004 exam transcript.                      2.6    1,235.00

1/25/2007   Belt, D.      Conference call with S. Smith, L. Schwartzer, W.              1.5      712.50
                          Molinski, M. Tucker, J. Hermann and D. Belt regarding
                          production of documents for HMA Sales and S. Reale.

1/25/2007   Belt, D.      Review documentation and exhibits from First                  1.8      855.00
                          American Title 2004 exam related to sale of Royal
                          Hotel by HMA Sales.

1/25/2007   Harvick, C.   Review HMA Sales title documents and S. Noouna                0.5      212.50
                          response to data request.

1/25/2007   Harvick, C.   Call with A. Loraditch to research HMA Sales buyer            0.1       42.50
                          and get documents filed at the county recorders.

1/25/2007   Harvick, C.   Participate in discussion with S. Smith, L. Schwartzer,       1.5      637.50
                          J. Hermann, W. Molinski, M. Tucker and D. Belt
                          regarding HMA Sales documents and next steps and
                          electronic evidence issues.

1/25/2007   Tucker, M.    Review additional changes to HMA Sales pleadings              0.6      315.00
                          and review of various related e-mails.

1/25/2007   Tucker, M.    Participate in conference call with S. Smith, L.              1.5      787.50
                          Schwartzer, J. Hermann, W. Molinski, C. Harvick and
                          D. Belt regarding HMA Sales litigation and document
                          retention issues.

1/26/2007   Tucker, M.    Review and comment on several e-mails and drafts of           0.9      472.50
                          amended HMA Sales complaint.

1/27/2007   Harvick, C.   Participate in call with J. Hermann, M. Tucker and M.         0.5      212.50
                          Levinson to discuss HMA Sales amended complaint
                          and writ of attachments.

1/27/2007   Tucker, M.    Conference call with M. Levinson, J. Hermann and C.           0.5      262.50
                          Harvick regarding HMA Sales litigation and
                          Investment Partners litigation issues.

1/27/2007   Tucker, M.    Review additional e-mails on HMA Sales amended                0.6      315.00
                          complaint and revisions to complaint.

1/29/2007   Harvick, C.   Review various e-mails regarding HMA Sales                    0.2       85.00
                          amended complaint.

1/29/2007   Harvick, C.   Participate in call with M. Levinson, M. Tucker, J.           0.6      255.00
                          Herman and A. Loraditch to discuss HMA Sales
                          bankruptcy status and next steps.

1/29/2007   Tucker, M.    Conference call with J. Hermann, M. Levinson, C.              0.6      315.00
                          Harvick and A. Loraditch regarding HMA Sales
                          litigation and discovery issues.




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Date        Consultant       Description                                              Hours       Fees

IP/10-90/Ashby Recovery
1/29/2007   Tucker, M.       Review changes to Investment Partners Protective           0.4      210.00
                             Order.

1/30/2007   Harvick, C.      Discuss changes to IP Protective Order with E.             0.3      127.50
                             Monson and S. Freeman.

1/30/2007   Harvick, C.      Review IP Protective Order and various e-mails             1.1      467.50
                             regarding same, prepare comments and send to M.
                             Levinson and E. Monson. Discuss same with M.
                             Tucker.

1/30/2007   Tucker, M.       Discussion with C. Harvick regarding Investment            0.3      157.50
                             Partners Protective Order issues and concerns.

1/30/2007   Tucker, M.       Review writ of attachment motion in HMA Sales.             0.5      262.50

1/30/2007   Tucker, M.       Participate in conference call with Debtor and             0.8      420.00
                             Committee professionals on Investment Partners
                             Protective Order issues.

1/31/2007   Tucker, M.       Review revised motion to dismiss Investment Partners       0.4      210.00
                             appeal and numerous related e-mails.

Total for IP/10-90/Ashby Recovery:                                                     60.5   27,953.50

Meetings & Communications with Diversified Committee
1/3/2007    Tucker, M.       Review e-mail responses to Diversified Trust Deed          0.3      157.50
                             Fund investors.

1/5/2007    Harvick, C.      Review responses to Diversified Trust Deed Fund            0.2       85.00
                             member questions.

1/6/2007    Tucker, M.       Review agenda for Committee meeting.                       0.2      105.00

1/7/2007    Tucker, M.       Review several responses to Diversified Trust Deed         0.5      262.50
                             Fund investors and reply to R. Raghi regarding
                             suggested changes.

1/8/2007    Belt, D.         Participate in Committee call (part).                      1.0      475.00

1/8/2007    Harvick, C.      Prepare for Diversified Trust Deed Fund Committee          0.3      127.50
                             call.

1/8/2007    Harvick, C.      Participate in Diversified Trust Deed Fund Committee       1.6      680.00
                             call to discuss recovery efforts, transition items and
                             current case events.

1/8/2007    Tucker, M.       Prepare for and participate in Committee conference        1.9      997.50
                             call.

1/8/2007    Tucker, M.       Conference with R. Worthen regarding Committee call        0.7      367.50
                             and follow up issues.

1/9/2007    Harvick, C.      Respond to Diversified Trust Deed Fund investor            0.2       85.00
                             question.

1/10/2007   Harvick, C.      Coordinate response to Diversified Trust Deed Fund         0.1       42.50
                             investor questions with J. Reed.

1/16/2007   Harvick, C.      Respond to Diversified Trust Deed Fund investor            0.2       85.00
                             inquiry.



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Meetings & Communications with Diversified Committee
1/16/2007   Tucker, M.       Review responses to Diversified Trust Deed Fund            0.3      157.50
                             investor questions.

1/18/2007   Harvick, C.      Revise Diversified Trust Deed Fund investor                0.2       85.00
                             Questions and Answers for the website.

1/24/2007   Harvick, C.      Review of Diversified Trust Deed Fund member               0.1       42.50
                             inquiries.

1/25/2007   Tucker, M.       Read replies sent to several Diversified Trust Deed        0.3      157.50
                             Fund investor requests for information.

1/26/2007   Harvick, C.      Participate in Diversified Trust Deed Fund Committee       1.2      510.00
                             call.

1/26/2007   Tucker, M.       Prepare for and participate in Committee conference        1.8      945.00
                             call on current issues, collections, transition, etc.

Total for Meetings & Communications with Diversified Committee:                        11.1    5,367.50

Plan and Other Restructure Related Work
1/2/2007    Harvick, C.      Prepare list of current USA Commercial Mortgage            0.3      127.50
                             employees to determine what post effective date
                             entity needs their services.

1/2/2007    Harvick, C.      Review e-mails regarding USA Commercial Mortgage           0.3      127.50
                             search capabilities and retention of electronic data.
                             Left M. Pugsley a message to call to discuss same.

1/2/2007    Harvick, C.      Review Plan Document Supplement and Notice of              0.5      212.50
                             Disclosures of Diversified Trust Deed Fund.

1/2/2007    Harvick, C.      Send e-mail to G. Berman confirming our meeting            0.1       42.50
                             with the Debtor on Thursday.

1/2/2007    Harvick, C.      Review Plan and APA support binder and USA                 0.3      127.50
                             Commercial Mortgage case docket to ensure we have
                             the most recent documents.

1/4/2007    Harvick, C.      Request and review Diversified Trust Deed Fund             0.3      127.50
                             Subscription Agreement and send to Diversified Trust
                             Deed Fund team.

1/4/2007    Harvick, C.      Discuss transition issues with S. Smith.                   0.5      212.50

1/4/2007    Harvick, C.      Prepare for and participate in meeting with T. Burr,       2.6    1,105.00
                             DSI professionals and Mesirow professionals to
                             discuss the collection of loans and transition issues.

1/4/2007    Harvick, C.      Discussion with M. Tucker regarding transition             0.2       85.00
                             meeting with Debtors.

1/4/2007    Smith, S.        Organize data on Plan and Disclosure Statement.            0.5       47.50

1/4/2007    Tucker, M.       Discussion with C. Harvick regarding transition            0.2      105.00
                             meeting with Debtors.

1/4/2007    Tucker, M.       Conference with M. Levinson regarding planning             0.8      420.00
                             issues for post effective date Diversified Trust Deed
                             Fund.




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Date       Consultant     Description                                              Hours       Fees

Plan and Other Restructure Related Work
1/5/2007   Harvick, C.    Coordinate transition meeting at USA Commercial            0.1       42.50
                          Mortgage with G. Berman.

1/5/2007   Harvick, C.    Coordinate Diversified Trust Deed Fund transition          0.1       42.50
                          meeting at Beckley.

1/5/2007   Harvick, C.    Review post Diversified Trust Deed Fund transition         0.3      127.50
                          task list prepared by J. Hermann.

1/5/2007   Harvick, C.    Discuss transition issues with M. Tucker, J. Hermann       0.3      127.50
                          and M. Levinson.

1/5/2007   Tucker, M.     Discuss status of transition issues with J. Hermann,       0.3      157.50
                          M. Levinson & C. Harvick.

1/6/2007   Harvick, C.    Participate in call with M. Tucker, M. Levinson and J.     0.9      382.50
                          Hermann to discuss post effective date transition
                          issues.

1/6/2007   Tucker, M.     Conference with M. Levinson, J. Hermann and C.             0.9      472.50
                          Harvick regarding effective date transition issues.

1/6/2007   Tucker, M.     Review transition plan list.                               0.5      262.50

1/6/2007   Tucker, M.     Review emails on composition and removal                   0.1       52.50
                          procedures of post effective Diversified Trust Deed
                          Fund.

1/7/2007   Tucker, M.     Review various legal pleadings and objections to           0.9      472.50
                          confirmation.

1/8/2007   Harvick, C.    Travel to Las Vegas to meet with Debtor and G.             2.1      892.50
                          Berman to discuss transition issues.

1/8/2007   Harvick, C.    Tour of USA Commercial Mortgage to see where the           0.3      127.50
                          electronic and hardcopy protected and unprotected
                          documents are stored.

1/8/2007   Harvick, C.    Participate in call with M. Pugsley, G. Berman, M.         0.7      297.50
                          Sorenson and A. Tsu (part) to discuss e-mail and
                          document search capabilities, source of documents
                          and a background of need and use of search process.

1/8/2007   Harvick, C.    Meet with S. Smith and L. Weese to discuss                 0.4      170.00
                          outstanding Diversified Trust Deed Fund data
                          requests and to setup a meeting to learn Visualfast
                          (Diversified Trust Deed Fund member management
                          system).

1/8/2007   Harvick, C.    Participate in meeting with G. Berman, M. Sorenson,        2.3      977.50
                          T. Allison (part), S. Smith and J. Atkinson to discuss
                          transition items, specifically people, documents,
                          space and programs.

1/8/2007   Harvick, C.    Travel back to Phoenix from Las Vegas meeting on           2.5    1,062.50
                          transition issues.

1/8/2007   Tucker, M.     Conference with M. Levinson and J. Hermann                 1.0      525.00
                          regarding Plan implementation issues.

1/8/2007   Tucker, M.     E-mail and reply to G. Berman regarding logistics for      0.2      105.00
                          January 11 meeting with USA Commercial Trust.



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Date        Consultant    Description                                                 Hours       Fees

Plan and Other Restructure Related Work
1/9/2007    Belt, D.      Make calls and emails in effort to source potential           1.3      617.50
                          D&O insurance coverage for post Plan effective date
                          period. Conference call with Willis of Arizona
                          insurance brokerage regarding coverage needs.

1/9/2007    Harvick, C.   Print and review Order Confirming the Plan and                0.4      170.00
                          Finding of Facts regarding same.

1/9/2007    Harvick, C.   Meet with M. Tucker to discuss work plan; make edits          0.8      340.00
                          and send to M. Tucker.

1/9/2007    Harvick, C.   Coordinate meeting with L. Weese to review                    0.1       42.50
                          Visualfast.

1/9/2007    Harvick, C.   Review and edit Diversified Trust Deed Fund post              1.5      637.50
                          effective date operations and litigation list prepared by
                          J. Hermann.

1/9/2007    Tucker, M.    Research D&O coverage for post effective Diversified          1.8      945.00
                          Trust Deed Fund including discussions with brokers.

1/9/2007    Tucker, M.    Discuss work plan with C. Harvick.                            0.5      262.50

1/10/2007   Harvick, C.   Edit work plan and prepare for meeting with                   0.8      340.00
                          Diversified Trust Deed Fund team on January 12.

1/10/2007   Harvick, C.   Call with B. Olson to discuss negotiation with USA            0.3      127.50
                          Commercial Mortgage and potential conflicts of
                          interest.

1/10/2007   Harvick, C.   Call and send e-mail to D. Blatt to set up a meeting to       0.2       85.00
                          discuss transition issues.

1/10/2007   Harvick, C.   Review and edit Diversified Trust Deed Fund post              0.4      170.00
                          effective date operations and litigation list prepared by
                          J. Hermann.

1/10/2007   Harvick, C.   Review and edit Diversified Trust Deed Fund post              1.1      467.50
                          effective date operations and litigation list prepared by
                          J. Hermann.

1/10/2007   Harvick, C.   Review and edit Diversified Trust Deed Fund post              0.7      297.50
                          effective date operations and litigation list prepared by
                          J. Hermann.

1/10/2007   Harvick, C.   Review and edit Diversified Trust Deed Fund post              0.5      212.50
                          effective date operations and litigation list prepared by
                          J. Hermann.

1/10/2007   Harvick, C.   Respond to E. Karasik request for information on              0.1       42.50
                          Investment Partners.

1/10/2007   Tucker, M.    Review master task list for transition planning meeting.      1.3      682.50

1/10/2007   Tucker, M.    Non working travel to Las Vegas for USA Commercial            2.4    1,260.00
                          Trust counsel interviews and Diversified Trust Deed
                          Fund transition planning..

1/10/2007   Tucker, M.    Follow up on D & O insurance needs for brokers.               0.4      210.00

1/11/2007   Belt, D.      Call with K. Cummings and response to email                   1.4      665.00
                          regarding procurement of D&O coverage for post
                          effective date period.


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Date        Consultant     Description                                               Hours       Fees

Plan and Other Restructure Related Work
1/11/2007   Belt, D.       Travel from Phoenix to Las Vegas for meeting with           3.2    1,520.00
                           counsel regarding post effective date transition.

1/11/2007   Harvick, C.    Call with M. Tucker to discuss Post Diversified Trust       0.3      127.50
                           Deed Fund space, people and documents and
                           potential meeting with J. Milanowski.

1/11/2007   Harvick, C.    Meeting with L. Weese to discuss I-Tracks system.           0.4      170.00

1/11/2007   Harvick, C.    Discussion with D. Blatt regarding transition issues -      0.2       85.00
                           people, space, systems, and documents.

1/11/2007   Harvick, C.    Call and exchange e-mails with E. Monson regarding          0.3      127.50
                           access to documents at USA Commercial Mortgage.

1/11/2007   Harvick, C.    Participate in meeting with L. Weese, J. Schwartz and       1.2      510.00
                           others at USA Commercial Mortgage to learn
                           Diversified Trust Deed Fund's member management
                           system Visualfast.

1/11/2007   Harvick, C.    Travel to Las Vegas to meet with L. Weese, Mesirow          2.5    1,062.50
                           and Diversified Trust Deed Fund team.

1/11/2007   Harvick, C.    Review USA Commercial Mortgage Committee's Plan             0.5      212.50
                           Documents Supplement and Disclosure.

1/11/2007   Schwartz, J.   Non working travel from Las Vegas to Phoenix after          2.4      780.00
                           meeting with L. Weese regarding VisualFast transition.

1/11/2007   Schwartz, J.   Non working travel to Las Vegas to discuss                  2.0      650.00
                           VisualFast transition with L. Weese.

1/11/2007   Schwartz, J.   Participate in meeting with L. Weese and C. Harvick         1.2      390.00
                           to review the VisualFast system used to track
                           shareholder allocations and distributions. Subsequent
                           meeting with A. Conner to review transfer of shares
                           and shareholder updates.

1/11/2007   Tucker, M.     Follow up on departure of USA Commercial IT person          0.2      105.00
                           and impact to Diversified Trust Deed Fund.

1/11/2007   Tucker, M.     Participate in USA Commercial Trust meetings on             7.9    4,147.50
                           selection of contingent fee counsel and various
                           transition issues.

1/11/2007   Tucker, M.     Call with C. Harvick to discuss Post Diversified Trust      0.3      157.50
                           Deed Fund space, people and documents and
                           potential meeting with J. Milanowski.

1/12/2007   Belt, D.       Non working travel from Las Vegas to Phoenix after          3.3    1,567.50
                           transition planning meeting.

1/12/2007   Belt, D.       Prepare for and participate in meeting with Diversified     8.9    4,227.50
                           Trust Deed Fund counsel and FTI staff at Beckley
                           Singleton offices regarding post effective date
                           operations, litigation and transition issues.

1/12/2007   Harvick, C.    Non working travel from Las Vegas to Phoenix after          2.5    1,062.50
                           transitiion planning meeting.




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Date        Consultant    Description                                               Hours       Fees

Plan and Other Restructure Related Work
1/12/2007   Harvick, C.   Participate in Diversified Trust Deed Fund                  8.7    3,697.50
                          professionals transition planning meeting for post
                          effective Diversified Trust Fund including
                          administrative process, collection plans, litigation
                          plans, etc.

1/12/2007   Tucker, M.    Non working travel from Las Vegas to Phoenix after          2.6    1,365.00
                          transition planning meeting.

1/12/2007   Tucker, M.    Participate in Diversified Trust Deed Fund                  8.7    4,567.50
                          professionals transition planning meeting for post
                          effective Diversified Trust Deed Fund including
                          administrative process, collection plans, litigation
                          plans, etc.

1/15/2007   Belt, D.      Review updated post effective date transition checklist     0.6      285.00
                          and note items requiring immediate attention.

1/15/2007   Harvick, C.   Review Diversified Trust Deed Fund transition work          1.1      467.50
                          plan and prepare Debtor document request.

1/15/2007   Harvick, C.   Update Diversified Trust Deed Fund transition work          0.6      255.00
                          plan.

1/15/2007   Tucker, M.    Determine status of insurance application with AIG,         0.4      210.00
                          meeting results with AIG from prior week and
                          application for second bid.

1/16/2007   Belt, D.      Begin preparation of template to be used for post           1.4      665.00
                          effective date 13-week cash flow forecast.

1/16/2007   Belt, D.      Call with potential D&O insurance broker regarding          0.9      427.50
                          procurement of coverage for post effective date
                          period. Follow-up review of email received from
                          broker outlining information needed to begin quote
                          process.

1/16/2007   Belt, D.      Review open items and document request needed               0.3      142.50
                          from Debtors' advisory team for transition purposes.

1/16/2007   Harvick, C.   Review Transition Plan, prepare for and participate in      2.3      977.50
                          call with Debtor and Committee professionals to
                          discuss transition issues.

1/16/2007   Harvick, C.   Meet with D. Mangrum to discuss server                      0.3      127.50
                          requirements, availability and transition of USA
                          Commercial Mortgage electronic files and systems to
                          FTI.

1/16/2007   Harvick, C.   Review plan and respond to R. Charles and M.                0.3      127.50
                          Levinson e-mail requesting the section in Plan that
                          discusses Diversified Trust Deed Fund's rights to
                          Loan Servicing Agreements for Diversified Trust Deed
                          Fund's loans.

1/16/2007   Harvick, C.   Call and e-mail L. Weese to coordinate a meeting to         0.3      127.50
                          review Diversified Trust Deed Fund's accounting
                          system.

1/16/2007   Tucker, M.    Participate in Debtor and all Committee conference          1.7      892.50
                          call regarding transition issues and planning.




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Date        Consultant    Description                                                Hours       Fees

Plan and Other Restructure Related Work
1/17/2007   Belt, D.      Non working travel from Phoenix to Las Vegas to              3.1    1,472.50
                          meet with USA Commercial Mortgage personnel
                          regarding accounting transition issues.

1/17/2007   Harvick, C.   Review and respond to e-mails to coordinate a                0.2       85.00
                          meeting with the Debtor to discuss Diversified Trust
                          Deed Fund's accounting system and electronic data.

1/17/2007   Tucker, M.    Review numerous e-mails on Plan confirmation                 0.5      262.50
                          appeal by Direct Lenders Group and related response
                          strategy.

1/18/2007   Belt, D.      Non working travel from Las Vegas to Phoenix after           3.1    1,472.50
                          accounting transition issues meeting with USA
                          Commercial Mortgage personnel..

1/18/2007   Belt, D.      Meet with L. Weese, S. Smith and J. Schlee regarding         4.6    2,185.00
                          accounting and data transition issues for post
                          effective date period.

1/18/2007   Belt, D.      Call with C. Harvick and L. Weese (part) to discuss          0.5      237.50
                          accounting transition.

1/18/2007   Harvick, C.   Review of Joint Emergency Motion to Quash Stay               0.8      340.00
                          Pending Appeal and related e-mails.

1/18/2007   Harvick, C.   Call with D. Belt and L. Weese (part) to discuss             0.5      212.50
                          accounting transition.

1/18/2007   Harvick, C.   Participate in All Committee call regarding the Joint        0.6      255.00
                          Emergency Motion to Quash Stay Pending Appeal.

1/19/2007   Belt, D.      Call with M. Levinson, C. Harvick, M. Tucker and J.          1.5      712.50
                          Herman regarding transition issues for post effective
                          date period.

1/19/2007   Belt, D.      Discussion with C. Harvick regarding transition of           0.3      142.50
                          accounting for Diversified Trust Deed Fund, electronic
                          data stored at USA Commercial Mortgage, and other
                          transition items.

1/19/2007   Belt, D.      Prepare business plan, pro forma and excerpts from           3.7    1,757.50
                          Disclosure Statement for D&O applications to be sent
                          to insurance brokers.

1/19/2007   Harvick, C.   Prepare for and participate in call with M. Levinson, D.     1.5      637.50
                          Belt, J. Hermann and M. Tucker to discuss transition
                          tasks/issues.

1/19/2007   Harvick, C.   Review Debtor transition plan and update Diversified         1.1      467.50
                          Trust Deed Fund's transition plan and sent to
                          Diversified Trust Deed Fund team.

1/19/2007   Harvick, C.   Discuss transition of accounting for Diversified Trust       0.3      127.50
                          Deed Fund, electronic data stored at USA
                          Commercial Mortgage, and other transition items with
                          D. Belt.

1/19/2007   Harvick, C.   Prepare for and participate in all Committee call            1.2      510.00
                          regarding transition issues, Russell/Compass, loan
                          payoff status and Plan objections.




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Date        Consultant    Description                                              Hours       Fees

Plan and Other Restructure Related Work
1/19/2007   Harvick, C.   Discussion with M. Levinson regarding the notice of        0.3      127.50
                          hearing for January 22, 2007 and the request for
                          documents from RQN. Review various e-mails
                          regarding same.

1/19/2007   Tucker, M.    Participate in Debtor and all Committee conference         1.5      787.50
                          call on appeal to confirmation and related issues.

1/19/2007   Tucker, M.    Participate in conference call with M. Levinson, C.        1.5      787.50
                          Harvick, D. Belt and J. Hermann regarding effective
                          date transition issues and update of work plan.

1/19/2007   Tucker, M.    Review and edit revised transition task list.              0.5      262.50

1/19/2007   Tucker, M.    Determine status of D & O application process.             0.4      210.00

1/21/2007   Harvick, C.   Review draft of Brief in Opposition to Stay Pending        1.4      595.00
                          Appeal and numerous e-mails regarding same.

1/21/2007   Tucker, M.    Review emergency motion for stay pending appeal by         3.2    1,680.00
                          LPG; motions to quash stay; review numerous related
                          e-mails.

1/22/2007   Belt, D.      Prepare D&O application packages and forward to            3.2    1,520.00
                          insurance brokers in order to begin quote process.

1/22/2007   Harvick, C.   Conference with M. Levinson, J. Hermann, M. Tucker,        0.3      127.50
                          A. Loraditch and B. Olson on results of Appeal
                          hearing and next steps.

1/22/2007   Harvick, C.   Discuss electronic and hardcopy data transition            0.3      127.50
                          issues with G. Berman.

1/22/2007   Harvick, C.   Review of Reply and supporting Exhibits to                 0.2       85.00
                          Appellants' Opposition to Joint Emergency Motion to
                          Quash Stay Pending Appeal, Vacate Temporary Stay
                          Order, Refer Stay Motion to the Bankruptcy Court.

1/22/2007   Harvick, C.   Send e-mail to R. Charles and G. Berman regarding          0.1       42.50
                          the transfer of electronic files to Diversified Trust
                          Deed Fund.

1/22/2007   Tucker, M.    Review opposition to Motion for Stay Pending Appeal        1.9      997.50
                          and numerous related e-mails.

1/22/2007   Tucker, M.    Review funding K-1 issues and tax return preparation       0.3      157.50
                          issues.

1/22/2007   Tucker, M.    Participate in Debtor and all Committee conference         1.1      577.50
                          call prior to Appeal hearing.

1/22/2007   Tucker, M.    Conference with M. Levinson, J. Hermann, C. Harvick,       0.3      157.50
                          A. Loraditch and B. Olson on results of Appeal
                          hearing and next steps.

1/23/2007   Belt, D.      Meeting with C. Harvick and M. Tucker to discuss           0.3      142.50
                          Diversified Trust Deed Fund tax issues and
                          application of Fiesta McNaughton proceeds.

1/23/2007   Harvick, C.   Discussion with M. Tucker on transition issues,            0.6      255.00
                          Opposition to Stay and upcoming hearing, Investment
                          Partners protective order and other outstanding tasks.



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Date        Consultant    Description                                                 Hours       Fees

Plan and Other Restructure Related Work
1/23/2007   Harvick, C.   Meeting with M. Tucker and D. Belt to discuss                 0.3      127.50
                          Diversified Trust Deed Fund tax issues and
                          application of Fiesta McNaughton proceeds.

1/23/2007   Harvick, C.   Participate in Diversified Trust Deed Fund team call to       0.9      382.50
                          discuss transition issues, Opposition to Stay and
                          upcoming hearing, Investment Partners protective
                          order and other outstanding tasks.

1/23/2007   Harvick, C.   Review various e-mails regarding stay pending appeal.         0.2       85.00

1/23/2007   Tucker, M.    Research tax return status and related write off for tax      0.9      472.50
                          purposes; discuss same with S. Smith.

1/23/2007   Tucker, M.    Discussion with C. Harvick on transition issues,              0.6      315.00
                          Opposition to Stay and upcoming hearing, Investment
                          Partners protective order and other outstanding tasks.

1/23/2007   Tucker, M.    Meeting with C. Harvick and D. Belt to discuss                0.3      157.50
                          Diversified Trust Deed Fund tax issues and
                          application of Fiesta McNaughton proceeds.

1/24/2007   Belt, D.      Review list of computer servers and applications              0.7      332.50
                          received from J. Schlee for transition planning
                          purposes.

1/24/2007   Harvick, C.   Participate in all Committee and Debtor call to discuss       1.4      595.00
                          transition issues.

1/24/2007   Harvick, C.   Call with M. Levinson and J. Hermann to discuss the           0.3      127.50
                          transition of litigation from Debtor to Diversified Trust
                          Deed Fund.

1/24/2007   Harvick, C.   Update Diversified Trust Deed Fund transition work            0.5      212.50
                          plan.

1/24/2007   Harvick, C.   Review letter from SilverPoint and related e-mail.            0.1       42.50

1/25/2007   Harvick, C.   Conference with J. Reed and M. Tucker regarding               0.5      212.50
                          computer retention issues and transition issues
                          between Compass and USA Commercial Mortgage
                          trustee.

1/25/2007   Tucker, M.    Conference with J. Reed and C. Harvick regarding              0.5      262.50
                          computer retention issues and transition issues
                          between Compass and USA Commercial Mortgage
                          trustee.

1/25/2007   Tucker, M.    Review and reply to e-mails on retention of USA               0.3      157.50
                          Commercial Mortgage personnel.

1/25/2007   Tucker, M.    Review and respond to termination of USA                      0.3      157.50
                          Commercial Mortgage employees and effective date
                          issues.

1/26/2007   Harvick, C.   All hands Committee and Debtor call to discuss                0.7      297.50
                          Compass closing and appeals.

1/26/2007   Tucker, M.    Review several e-mails and related letter from                0.4      210.00
                          Diamond McCarthy on meeting with USA Commercial
                          Mortgage and document accumulation.




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Date        Consultant    Description                                              Hours       Fees

Plan and Other Restructure Related Work
1/26/2007   Tucker, M.    Review motion for enforcement of Plan and related          0.3      157.50
                          pleadings on allocation of overbid proceeds.

1/27/2007   Harvick, C.   Participate in call with J. Hermann, M. Tucker and M.      0.5      212.50
                          Levinson to discuss transition items and the meeting
                          next week regarding the preservation and sharing of
                          electronic data and hardcopy documents.

1/27/2007   Tucker, M.    Conference call with M. Levinson, J. Hermann and C.        0.5      262.50
                          Harvick regarding effective date transition issues
                          including meeting with Diamond McCarthy.

1/29/2007   Harvick, C.   Call with W. Molinski to discuss electronic evidence       0.2       85.00
                          issues and transition.

1/29/2007   Harvick, C.   Participate in call with M. Levinson, M. Tucker, J.        0.6      255.00
                          Herman and A. Loraditch to prepare for
                          transition/litigation meeting with Diamond McCarthy
                          and post effective date USA Commercial Mortgage
                          Trust.

1/29/2007   Tucker, M.    Conference call with J. Hermann, M. Levinson, C.           0.6      315.00
                          Harvick and A. Loraditch regarding preparation for
                          USA Commercial Mortgage Trustee meeting with
                          Diamond McCarthy and transition issues.

1/29/2007   Tucker, M.    Review and analysis of agenda for meeting with USA         0.2      105.00
                          Commercial Mortgage Trustee and counsel.

1/30/2007   Belt, D.      Calls and emails with insurance brokers regarding          0.6      285.00
                          obtaining D&O insurance coverage quotes.

1/30/2007   Belt, D.      Review transition plan document for issues relative to     0.5      237.50
                          Diversified and impact on effective date.

1/30/2007   Belt, D.      Review draft of implementation order received from         0.9      427.50
                          counsel.

1/30/2007   Belt, D.      Conference call with all constituents and respective       1.3      617.50
                          counsel to discuss transition issues and other Plan
                          effective date matters.

1/30/2007   Harvick, C.   Discuss transition issues with J. Reed.                    0.3      127.50

1/30/2007   Harvick, C.   Non working travel to Vegas to attend transition           2.4    1,020.00
                          meeting with Debtor, USA Commercial Mortgage
                          Committee professionals and USA Commercial
                          Mortgage Trust professionals.

1/30/2007   Harvick, C.   Non working travel back to Phoenix after attending         2.3      977.50
                          transition meeting with Debtor, USA Commercial
                          Mortgage Committee professionals and USA
                          Commercial Mortgage Trust professionals.

1/30/2007   Harvick, C.   Prepare for and participate in call with J. Herman,        1.5      637.50
                          Compass Partners (part), Debtor, USA Commercial
                          Mortgage Committee professionals and USA
                          Commercial Mortgage Trust professionals to discuss
                          transition issues regarding people, space, documents,
                          timing etc.




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Date        Consultant        Description                                                 Hours          Fees

Plan and Other Restructure Related Work
1/30/2007   Harvick, C.       Participate in call with J. Herman, Debtor, USA               3.6       1,530.00
                              Commercial Mortgage Committee professionals and
                              USA Commercial Mortgage Trust professionals to get
                              an update on current litigation, transition of litigation
                              post effective date and next steps.

1/30/2007   Tucker, M.        Review draft implementation order.                            0.2         105.00

1/30/2007   Tucker, M.        Participate in Debtor and all Committee call on               2.1       1,102.50
                              transition issues, status of Compass closing and
                              appeals; follow up various transition issues.

1/31/2007   Belt, D.          Finalize template for projected cash flow of ongoing          1.3         617.50
                              Diversified Trust.

1/31/2007   Harvick, C.       Prepare for and participate in call with M. Tucker to         0.5         212.50
                              discuss electronic preservation and discovery.

1/31/2007   Tucker, M.        Call with C. Harvick to discuss electronic preservation       0.3         157.50
                              and discovery.

Total for Plan and Other Restructure Related Work:                                        174.5      80,962.50

Grand Total                                                                               418.1   $187,239.50




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                                USA Capital Diversified Trust Deed Fund
                                           Summary Exhibit D
                               Professional Expenses Incurred by Category
                               For the Period of 1/1/2007 through 1/31/2007
Consultant           Date Incurred Description of Expense                                            Amount

Administrative
Tucker, M.              1/2/2007     Court Conference for USA hearing - CourtCall.                      25.00

Harvick, C.             1/2/2007     Court Conference - USA hearing (12/28/06) -                        83.50
                                     CourtCall.

Total for Administrative:                                                                              108.50

Airfare
Harvick, C.             1/3/2007     Air Fare from Phoenix to Las Vegas on 1/3/07.                     125.40

Harvick, C.             1/4/2007     Air Fare from Las Vegas to Phoenix on 1/4/06.                     122.90

Harvick, C.             1/8/2007     Air Fare day trip from Phoenix to Las Vegas on                    250.30
                                     1/8/07.

Tucker, M.              1/10/2007    Air Fare from Phoenix on 1/10/07 to Las Vegas                     226.00
                                     return on 1/12/07.

Tucker, M.              1/10/2007    Change fee for nonfundable ticket from cancelled                  100.00
                                     meeting 10/11/06.

Schwartz, J.            1/11/2007    Air Fare day trip from Phoenix to Las Vegas 1/11/07.              250.30

Harvick, C.             1/11/2007    Air Fare from Phoenix on 1/11/07 to Las Vegas, NV                 250.30
                                     return 1/12/07.

Belt, D.                1/12/2007    Air Fare from Phoenix on 1/11/07 to Las Vegas                     279.30
                                     return 1/12/07.

Belt, D.                1/18/2007    Air Fare from Phoenix on 1/17/07 to Las Vegas                     308.30
                                     returned on 1/18/07.

Harvick, C.             1/30/2007    Air Fare day trip from Phoenix to Las Vegas on                    250.30
                                     1/30/07.

Total for Airfare:                                                                                   2,163.10

Lodging
Harvick, C.             1/4/2007     Hotel in Las Vegas for 1 Night, Check In 1/3/07 -                 152.55
                                     Check Out 1/4/07.

Harvick, C.             1/11/2007    Hotel in Las Vegas for 1 Night, Check In 1/11/07 -                130.80
                                     Check Out 1/12/07.

Belt, D.                1/12/2007    Hotel in Las Vegas for 1 Night, Check In 1/11/07 -                130.80
                                     Check Out 1/12/07.

Tucker, M.              1/12/2007    Hotel in Las Vegas for 2 Nights, Check In 1/10/07 -               283.40
                                     Check Out 1/12/07.



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Consultant         Date Incurred Description of Expense                                          Amount

Belt, D.              1/18/2007    Hotel in Las Vegas for 1 Night, Check In 1/17/07 -              180.15
                                   Check Out 1/18/07.

Total for Lodging:                                                                                 877.70

Meal
Harvick, C.           1/3/2007     Lunch.                                                            7.47

Harvick, C.           1/3/2007     Dinner.                                                          55.00

Harvick, C.           1/4/2007     Dinner.                                                           9.24

Harvick, C.           1/8/2007     Dinner.                                                           9.24

Harvick, C.           1/8/2007     Breakfast.                                                        3.29

Tucker, M.            1/10/2007    Dinner.                                                          10.78

Tucker, M.            1/11/2007    Breakfast.                                                       22.63

Belt, D.              1/12/2007    Dinner.                                                           8.00

Tucker, M.            1/12/2007    Dinner.                                                          22.00

Belt, D.              1/12/2007    Breakfast (coffee).                                               4.00

Tucker, M.            1/12/2007    Breakfast.                                                       19.74

Belt, D.              1/18/2007    Lunch.                                                           12.00

Belt, D.              1/18/2007    Breakfast.                                                       20.00

Total for Meal:                                                                                    203.39

Other
Tucker, M.            1/11/2007    Internet Provider Charges - hotel in Las Vegas                   11.99
                                   1/10/07 - 1/121/07.

Tucker, M.            1/12/2007    Misc. tips - hotel, airport, etc.                                20.00

Total for Other:                                                                                    31.99

Transportation
Harvick, C.           1/4/2007     Rental Car - 1/3/07 through 1/4/07 in Las Vegas.                 53.97

Harvick, C.           1/4/2007     PHX airport parking - 2 days.                                    40.00

Harvick, C.           1/4/2007     24 miles - home to airport and return.                           11.64

Harvick, C.           1/8/2007     PHX airport parking - 1 day.                                     20.00

Harvick, C.           1/8/2007     Rental Car - 1/8/07 through 1/8/07 in Las Vegas.                 61.96

Harvick, C.           1/8/2007     24 miles - home to airport and return.                           11.64

Tucker, M.            1/10/2007    Taxi - Las Vegas airport to hotel.                               24.00



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Consultant       Date Incurred Description of Expense                                           Amount

Schwartz, J.         1/11/2007    PHX airport parking - 1 day.                                      20.00

Belt, D.             1/11/2007    Taxi - Las Vegas airport to hotel.                                33.00

Schwartz, J.         1/11/2007    50 miles from home to airport and return.                         24.25

Harvick, C.          1/12/2007    Rental Car - 1/11/07 through 1/12/07 in Las Vegas.              116.54

Tucker, M.           1/12/2007    14 miles - home to airport and return.                             6.79

Belt, D.             1/12/2007    PHX airport parking - 1.5 days.                                   38.00

Tucker, M.           1/12/2007    PHX airport parking - 2.1 days.                                   42.00

Harvick, C.          1/12/2007    PHX airport parking - 2 days.                                     40.00

Harvick, C.          1/12/2007    24 miles from home to airport and return.                         11.64

Belt, D.             1/17/2007    Taxi - Las Vegas airport to hotel.                                27.00

Belt, D.             1/18/2007    Taxi - USA Capital offices to airport.                            20.00

Belt, D.             1/18/2007    PHX airport parking - 2 days.                                     40.00

Belt, D.             1/18/2007    Taxi - hotel to USA Capital Mortgage offices.                     28.00

Harvick, C.          1/30/2007    Taxi - airport to USA Commercial Mortgage offices.                18.00

Harvick, C.          1/30/2007    PHX airport parking - 1 day.                                      20.00

Harvick, C.          1/30/2007    24 miles - home to airport and return.                            11.64

Total for Transportation:                                                                         720.07

Grand Total                                                                                    $4,104.75




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